Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.440 Page 1 of 106



      1   Aisling S. Gilliland~E_sg._(SBN 163321)
          THE GILLILAND t< IRM
      2   402 West Broadway., Suite 1760
          San Diego, California 92101
     3    Tel: (619) 87-1580
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     4

      5   Corey P. Hanraha~; Esq. (SBN 256835)
          THE HANRAHAr\J FIRM
     6    402 West Broadway., Suite 1760
          San Diego, California 92101
     7    Tel: (619) 377-6522
          E-fax: (619) 377-6662
      8




                               UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
                                                          Case No. '19cv0025 DMS (BLM)
     15                                                DECLARATION OF AISLING S.
                      Plaintiff,                       GILLILAND IN OPPOSITION TO
     16                                                DEFENDANT'S MOTION FOR
                V.                                     SUMMARY JUDGMENT
     17
                                                       Date: November 15, 2019
     18   INTER-CON SECURITY SYSTEMS,                  Time: 1:30 p.m.
          INC., a California corporation; and          Courtroom: 13A(l3 th Floor)
     19
          DOES 1 through 25, inclusive,                   [Assigned to the Hon. Judge Dana M.
    20
                      Defendants.                         Sabraw; Mag. Judge Barbara L. Major]
    21

    22
    23          I, Aisling S. Gilliland, declare:
    24    1.    I am an attorney with The Gilliland Firm and am counsel of record for
    25          Plaintiff in this case. I am admitted to practice law in this Court and in all of
    26          the courts of the State of California. I have personal knowledge of the
    27          following and if so called upon, could and would testify thereto.
    28    ///
                                                      1
                                                    DECLARATION OF AISLING S. GILLILAND
                                                                        '19cv0025 DMS (BLM)
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.441 Page 2 of 106



     1   2.   Attached hereto as Exhibit "l" is a true and correct copy of Defendant's
     2        Responses to Special Interrogatories in this case, verified by Richard Stack.
     3   3.   Attached hereto as Exhibit "2" is a true and correct copy of the relevant
     4        portions of the deposition transcript of Inter-Con's Chief Operating Officer,
     5        Richard Stack, along with the court reporter's certification of the transcript
     6        of the deposition.
     7   4.   Attached hereto as Exhibit "3" is a true and correct copy of the May 8, 2009
     8        iLetter from Stephen H. Lee, M.D. which Plaintiff submitted to Akal
              Security. This document was produced by Plaintiff in discovery and is
              authenticated by the Declaration of Gene Sugimoto, 13.
              Attached hereto as Exhibit "4" is a true and correct copy of the May 14,
              2014 letter from Daniel S. Hall, USMS to Jerry Neville, Inter-Con Security
              Systems, Inc. This document was produced by Plaintiff in discovery and is
              authenticated by the Declaration of Gene Sugimoto, 15.
    15   6.   Attached hereto as Exhibit "5" is a true and correct copy of Plaintiffs
    16        August 25, 2010 Medical Review Form by F. Rosenberg, M.D. This
    17        document was produced by Plaintiff in discovery and is authenticated by the
    18        Declaration of Gene Sugimoto, 16.
    19   7.   Attached hereto as Exhibit "6" is a true and correct copy of Plaintiffs June
    20        18, 2011 Medical Review Form by L. Hutchinson, M.D. This document
    21        was produced by Plaintiff in discovery and is authenticated by the
    22        Declaration of Gene Sugimoto, 17.
    23   8.   Attached hereto as Exhibit "7" is a true and correct copy of Plaintiffs
    24        February 26, 2014 Medical Review Form by H. Goldhagen, M.D. This
    25        document was produced by Plaintiff in discovery and is authenticated by the
    26        Declaration of Gene Sugimoto, 18.
    27   9.   Attached hereto as Exhibit "8" is a true and correct copy of the December 1,
    28        2014 facsimile and letter Plaintiff received from Inter-Con regarding his
                                                  2
                                               DECLARATION OF AISLING S. GILLILAND
                                                                   '19cv0025 DMS (BLM)
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.442 Page 3 of 106



     1         MRF deadline with Medical Review Form attached. This document was
     2         produced by Plaintiff in discovery and is authenticated by the Declaration of
     3         Gene Sugimoto, if9.
     4   10.   Attached hereto as Exhibit "9" is a true and correct copy of Gene
     5         Sugimoto's December 3, 2014 note to Dr. Spees. This document was
     6         produced by Plaintiff in discovery and is authenticated by the Declaration of
     7         Gene Sugimoto, if l 0.
     8   11.   Attached hereto as Exhibit "1 0" is a true and correct copy of the David N.
               Spees, M.D. letter dated December 9, 2014, with attachment. This document
               was produced by Plaintiff in discovery and is authenticated by the
               Declaration of Gene Sugimoto, if l 0.
         12.   Attached hereto as Exhibit "11" is a true and correct copy of the January 30,
               2015 Medical Review Form by H. Goldhagen, M.D. This document was
               produced by Plaintiff in discovery and is authenticated by the Declaration of
    15         Gene Sugimoto, if 11.
    16   13.   Attached hereto as Exhibit "12" is a true and correct copy of the February
    17         23, 2015 facsimile transmittal and letter re MRF Deadline Gene Sugimoto
    18         received from Inter-Con. This document was produced by Plaintiff in
    19         discovery and is authenticated by the Declaration of Gene Sugimoto, if 13.
    20   14.   Attached hereto as Exhibit "13" is a true and correct copy of the note
    21         Plaintiff Gene Sugimoto wrote to Melvin Roberts dated March 11, 2015.
    22         This document was produced by Plaintiff in discovery and is authenticated
    23         by the Declaration of Gene Sugimoto, ,I14.
    24   15.   Attached hereto as Exhibit "14" is a true and correct copy of the USMS
    25         Medical Expense Pre-Authorization Form. This document was produced by
    26         Plaintiff in discovery and is authenticated by the Declaration of Gene
    27         Sugimoto, if l 4.
    28   ///
                                                  3
                                               DECLARATION OF AISLING S. GILLILAND
                                                                   '19cv0025 DMS (BLM)
    Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.443 Page 4 of 106



               1   16.   Attached hereto as Exhibit "15" is a true and correct copy of the note
               2         Plaintiff sent to Inter-Con seeking subsequent reimbursement. This
               3         document was produced by Plaintiff in discovery and is authenticated by the
               4         Declaration of Gene Sugimoto, ,Jl5.
               5   17.   Attached hereto as Exhibit "16" is a true and correct copy of the Inter-Con
               6         email exchange regarding Plaintiffs medical expense authorization. These
               7         documents were produced by Plaintiff in discovery and were identified
               8         during the deposition of Richard Stack, Exhibits "4" and "7 ."
               9   18.   Attached hereto as Exhibit "17" is a true and correct copy of the
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!:?:~~10                 memorandum Plaintiff sent to Melvin Roberts dated April 6, 2015. This
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z    ~    0   11         document was produced by Plaintiff in discovery and is authenticated by the
~ 0~ !!::,.J
:J ~ (i 12               Declaration of Gene Sugimoto, ,II 7 .
..JP::: 0
-    a:l (!)
~E--!::ll3         19.   Attached hereto as Exhibit "18" is a true and correct copy of the email dated
W    j2   0
I~ z
   8l ~ 14
I- ..,.                  May 12, 2015 from Mark Cook "To all concerned." This document was
              15         produced by Plaintiff in discovery and is authenticated by the Declaration of
              16         Mark Cook, ,I7.
              17   20.   Attached hereto as Exhibit "19" is a true and correct copy of the May 25,
              18         2018 U.S. Equal Opportunity Commission "Determination" Plaintiff
              19         received from the EEOC in response to his December 16, 2015 charge. This
              20         document was produced by Plaintiff in discovery and is authenticated by the
              21         Declaration of Gene Sugimoto, ,I21.
              22   21.   Attached hereto as Exhibit "20" is a true and correct copy of the April 27,
              23         2015 Notice of Termination Plaintiff received from Inter-Con. This
              24         document was produced by Plaintiff in discovery and is authenticated by the
              25         Declaration of Gene Sugimoto, ,rl 9.
              26   22.   Attached hereto as Exhibit "21" is a true and correct copy of the April 20,
              27         2015 Memorandum from Plaintiff to Melvin Roberts. This document was
              28   Ill
                                                            4
                                                         DECLARATION OF AISLING S. GILLILAND
                                                                             '19cv0025 DMS (BLM)
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.444 Page 5 of 106



     1            produced by Plaintiff in discovery and is authenticated by the Declaration of
     2            Gene Sugimoto, ifl8.
     3   23.      Attached hereto as Exhibit "22" is a true and correct copy of the May 5,
     4            2015 "Progress Note" Plaintiff received from Stephen H. Lee, M.D. This
     5            document was produced by Plaintiff in discovery and is authenticated by the
     6            Declaration of Gene Sugimoto, ,I20.
     7   24.      Attached hereto as Exhibit "23" is a true and correct copy of Plaintiffs
     8            EEOC Charge of Discrimination dated December 16, 2015. This document
                  was produced by Plaintiff in discovery and is authenticated by the
                  Declaration of Gene Sugimoto, if22.
                  Attached hereto as Exhibit "24" is a true and correct copy of Inter-Con's
                  letter to the EEOC dated January 22, 2016. This document was produced by
                  Defendant in discovery.
                  Attached hereto as Exhibit "25" is a true and correct copy of an
    15            Acknowledgement of Conditions of Court Security Officer Eligibility dated
    16            June 20, 2014. This document was produced by Plaintiff in discovery and is
    17            authenticated by the Declaration of Gene Sugimoto, ,I23.
    18         Executed this 31st day of October, 2019, at San Diego, California.
    19
                                                                 ;;) d -
    20                                                       \_~_,t,t{Jv]~/\A/
    21                                                         Aisling S. Gilliland
    22
    23

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                                                 DECLARATION OF AISLING S. GILLILAND
                                                                     '19cv0025 DMS (BLM)
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.445 Page 6 of 106




                               EXHIBIT 1
    Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.446 Page 7 of 106




                     1   Cheryl Johnson-Hartwell, (SBN 221063)
                         E-mail: cjohnson-hartwell@bwslaw.com
                     2   Mitchell A. Wrosch (SBN 262230)
                         E-mail: mwroschc@bwslaw.com
                     3   Lindsay M. Samuel' (SBN 320075)
                         E-mail: lsamuelc@bwslaw.com
                     4   BURKE, WILLIAMS & SORENSEN, LLP
                         444 South Flower Street, Suite 2400
                     5   Los Angeles, CA 90071-2953
                         Tel: 213.236.0600; Fax: 213.236.2700
                     6

                     7   Attorneys for Defendant,
                         INTER-CON SECURITY SYSTEMS, INC.
                     8
                     9                            UNITED STATES DISTRICT COURT
                    10                      SOUTHERN DISTRICT OF CALIFORNIA
                    11
                    12   GENE SUGIMOTO, an individual,           Case No. 3:19-cv-00025-DMS-BLM
                    13                                          DEFENDANT, INTER-CON
                                     Plaintiff,                 SECURITY SYSTEMS INC.'S
                    14                                          RESPONSES TO PLAINTIFF, GENE
                               V.                               SUGIMOTO'S SPECIAL
                    15                                          INTERROGATORIES, SET ONE
                         INTER-CON SECURITY
                    16   SYSTEMS, INC., a California
                    17   corporation; and DOES 1 through
                         25, inclusive,
                    18
                              Defendants.
                    19   11-------------'
                    20
                         REQUESTING PARTY :             Plaintiff, GENE SUGIMOTO
                    21
                         RESPONDING PARTY:              Defendant, INTER-CON SECURITY SYSTEMS,
                    22
                                                        INC.
                    23
                         SET NO.                        One
                    24
                               Pursuant to Federal Rule of Civil Procedure 33, Defendant INTER-CON
                    25
                         SECURITY SYSTEMS, INC. ("Inter-Con") hereby responds and objects to
                    26
                         Plaintiff GENE SUGIMOTO ("Plaintiff') Interrogatories, Set One, as follows:
                    27
                         Ill
                    28
BURKE, WILLIAMS &                                                         CASE NO.: 3:19-CV-00025-DMS-BLM
 SORENSEN, LLP                                                 - 1-           DEFENDANT'S RESPONSES TO
  ATTOIINEU AT LAW
    Los AWCF.u:.s
                                                                          SPECIAL INTERROGATORIES, SET I
    Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.447 Page 8 of 106




                        1                                PRELIMINARY STATEMENT
                        2          1.       Inter-Con has not yet completed discovery relating to this case, and
                        3   investigation of the facts therefore is continuing and will continue to and
                        4   throughout the trial of this action. Inter-Con's responses to Plaintiffs
                        5   Interrogatories, Set One, therefore are made without prejudice to Inter-Con's right
                        6   to introduce any and all documents and other evidence of any kind in the
                        7   proceedings in this action.
                        8          2.       Inter-Con has responded to Plaintiffs Interrogatories, Set One, as it
                        9   interprets and understands each Interrogatory made therein. If Plaintiff
                     10     subsequently asserts an interpretation of any Interrogatory that differs from the
                     11     understanding of Inter-Con, then Inter-Con reserves the right to supplement its
                     12     objections and/or responses.
                     13            3.       Each Response herein is made subject to all appropriate objections
                     14     (including, but not limited to, objections concerning competency, relevance,
                     15     materiality, propriety, and admissibility), which would require the exclusion of any
                     16     information or thing at the time of trial. All such objections and grounds therefore,
                     17     are reserved and may be interposed at the time of trial.
                     18           4.        Except for facts explicitly admitted herein, no admission of any nature
                     19     whatsoever is to be implied or inferred from these Responses. The fact that Inter-
                     20     Con has responded to an Interrogatory should not be taken as an admission, or a
                     21     concession of the existence, of any fact set forth or assumed by such Interrogatory,
                     22     or that such Response constitutes evidence of any fact thus set forth or assumed.
                     23           5.        All Responses must be construed as given on the basis of present
                     24     recollection.
                     25           6.        Inter-Con's responses herein to Plaintiffs Interrogatories - Set One,
                     26     are for Inter-Con and for no other person or entity.

                     27     Ill
                     28     Ill
BURKE, WILLIAMS         &                                                          CASE NO.: 3:19-CV-00025-DMS-BLM
 SORENSEN, LLP
  ATTDRNl:'Yll AT LAW
                                                                        -2-            DEFENDANT'S RESPONSES TO
     LosANCl:.Ll:S                                                                 SPECIAL INTERROGATORIES, SET I
    Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.448 Page 9 of 106




                        1                  RESPONSE TO SPECIAL INTERROGATORIES
                        2   SPECIAL INTERROGATORY NO. 1:
                        3          State any and all reasons YOU terminated Plaintiffs employment.
                        4   RESPONSE TO SPECIAL INTERROGATORY NO. 1:
                        5         Inter-Con contracted with the United States Marshals Service ("USMS") to
                        6   provide security services at the United States District Court for the Southern
                        7   District of California ("USDCSD"). Inter-Con employed Plaintiff to work as a
                        8   Court Security Officer at the USDCSD. The USMS requested that Plaintiff provide
                        9   specific medical information pertaining to his history of obstructive sleep apnea,
                      10    and the USMS provided Plaintiff with a deadline to provide the information.
                      11    Plaintiff was non-compliant with the requests, and on April 27, 2015, the USMS
                      12    determined that Plaintiff was not qualified to perform as a Court Security Officer.
                      13    Plaintiffs employment was subsequently terminated because he was deemed not
                      14    qualified to perform as a Court Security Officer, the position that Inter-Con hired
                      15    Plaintiff to perform.
                      16
                      17    SPECIAL INTERROGATORY NO. 2:
                      18          IDENTIFY any and all person(s) involved in the decision to terminate
                      19    Plaintiffs employment.
                      20    RESPONSE TO SPECIAL INTERROGATORY NO. 2:
                      21          Inter-Con objects to this Interrogatory on the grounds that it is vague and
                      22    ambiguous as to the meaning of"involved."
                      23          Subject to this objection, Inter-Con responds as follows: Dan Ryan, former
                      24    Vice President for Operations; Bret Lockhart, former Contract Manager; and
                      25    Melvin Roberts, former District Supervisor, Southern District of California.
                      26
                      27    SPECIAL INTERROGATORY NO. 3:
                      28          IDENTIFY all communications wherein terminating Plaintiffs employment
BURKE, Wit.LIA MS       &                                                        CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP
  ATTOIINt:YS AT I.AW
                                                                     -3-             DEFENDANT'S RESPONSES TO
     Lo, ANCt:Lf.'5
                                                                                 SPECIAL INTERROGATORIES, SET I
   Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.449 Page 10 of 106




                      1   was discussed.
                      2   RESPONSE TO SPECIAL INTERROGATORY NO. 3:
                      3           Inter-Con objects to this Interrogatory on the following grounds: it is vague
                      4   and ambiguous as to the meaning of"COMMUNIC ATIONS" and "discussed."
                      5   Inter-Con will treat this as a request to identify communications by Inter-Con
                      6   management-level employees occurring prior to Plaintiffs termination on April 27,
                      7   2015.
                      8           Subject to these objections, Inter-Con responds as follows: Email from Leah
                      9   Sherman to Lisa Brown, Lena Horvat, Dan Ryan, Bret Lockhart dated April 27,
                  10      2015 and email from Dan Ryan to Bret Lockhart, Melvin Roberts dated April 27,
                  11      2015.
                  12
                  13      SPECIAL INTERROGATORY NO. 4:
                  14              IDENTIFY all documents that were relied upon, in whole or in part, in the
                  15      decision to terminate Plaintiffs employment.
                  16      RESPONSE TO SPECIAL INTERROGATORY NO. 4:
                  17              Inter-Con objects to this Interrogatory on the grounds that it is vague and
                  18      ambiguous as to the meaning of"relied upon."
                  19              Subject to this objection, Inter-Con responds as follows: Inter-Con's
                 20       Contract with USMS, Plaintiffs Medical Review Form dated January 30, 2015,
                 21       Plaintiffs Medical Review Former dated November 14, 2014 and an email from
                 22       Leah Sherman, Contractor, Project Support Services at USMS to Dan Ryan dated
                 23       April 27, 2015.
                 24
                 25       SPECIAL INTERROGATORY NO. 5:
                 26               State any and all COMPLAINT(s) made about Plaintiff.
                 27       RESPONSE TO SPECIAL INTERROGATORY NO. 5:
                 28               Inter-Con objects to this Interrogatory on the following grounds: (1) it is
BURKE, WILLIAMS       &                                                          CASE NO.: 3: J9-CV-00025-DMS-BLM
 SORENSEN, LLP                                                       -4 -            DEFENDANT'S RESPONSES TO
  ATToaNt:YS AT LAW
    Lo, ANGHES                                                                   SPECIAL INTERROGATORIES, SET 1
   Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.450 Page 11 of 106




                        1   vague and ambiguous as to the meaning of"COMPLAINT." While the term is
                        2   defined in Plaintiffs instructions, the definition is unintelligible in the context of
                        3   this Interrogatory; (2) it is not proportional to the needs of the case because the
                        4   requested information is not important to resolving the issues in this action because
                        5   the Interrogatory is not limited in time, or to complaints that are relevant to the
                        6   claims and/or causes of action in the Complaint.
                        7          Subject to these objections, Inter-Con responds as follows: None.
                        8
                        9   SPECIAL INTERROGATORY NO. 6:
                      10           IDENTIFY any and all PERSON(s) who made COMPLAINT(s) about
                      11    Plaintiff.
                      12    RESPONSE TO SPECIAL INTERROGATORY NO. 6:
                      13           Inter-Con objects to this Interrogatory on the following grounds: ( 1) it is
                      14    vague and ambiguous as to the meaning of"COMPLAINT." While the term is
                      15    defined in Plaintiffs instructions, the definition is unintelligible in the context of
                      16    this Interrogatory; (2) it is not proportional to the needs of the case because the
                      17    requested information is not important to resolving the issues in this action because
                      18    the Interrogatory is not limited in time, or to complaints that are relevant to the
                      19    claims and/or causes of action in the Complaint.
                      20           Subject to these objections, Inter-Con responds as follows: None.
                      21
                      22    SPECIAL INTERROGATORY NO. 7:
                      23           State all of YOUR perceived deficiencies in Plaintiffs job performance at
                      24    any time during his employment.
                      25    RESPONSE TO SPECIAL INTERROGATORY NO. 7:
                      26           Inter-Con objects to this Interrogatory on the following grounds: (1) it is
                      27    vague and ambiguous as to the meaning of "deficiencies" and "job performance" as
                      28    the term is not defined; (2) it is not proportional to the needs of the case because the
BURKE, WILLIAMS &r                                                                 CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP                                                        -5-             DEFENDANT'S RESPONSES TO
  ATTOaN.,Y!lo AT LAW
     Los   ANCF.L£S
                                                                                   SPECIAL INTERROGATORIES, SET I
   Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.451 Page 12 of 106




                        1   requested information is not important to resolving the issues in this action because
                        2   the Interrogatory is not limited in time.
                        3         Subject to these objections, Inter-Con responds as follows: None, besides
                        4   Plaintiffs failure to comply with the USMS's request for medical information.
                        5
                        6   SPECIAL INTERROGATORY NO. 8:
                        7         IDENTIFY any and all of YOUR POLICIES and PROCEDURES
                        8   RELATING TO preventing discrimination based on disability from 2013-2016.
                        9   RESPONSE TO SPECIAL INTERROGATORY NO. 8:
                    10            Inter-Con objects to this Interrogatory on the grounds that it is vague and
                    11      ambiguous as to the meaning of"discrimination."
                    12            Inter-Con Security Systems, Inc.'s USMS Employee Handbook: section 5.1
                    13      Employment of the Disabled, 5.2 Equal Employment Opportunity, 7.0 Harassment
                    14      Prevention Policy, 7.7 Equal Opportunity Employment Policy; Equal Opportunity
                    15      Policy signed by Plaintiff on September 24, 2013; and the Collective Bargaining
                    16      Agreement between United States Court Security Offices (USCSO) and Inter-Con
                    17      Security Systems, Inc.: ARTICLE XII Equal Opportunity (Non-Discrimination).
                    18
                    19      SPECIAL INTERROGATORY NO. 9:
                    20            IDENTIFY any and all of YOUR POLICIES and PROCEDURES
                    21      RELATING TO accommodating the disability of YOUR employees.
                    22      RESPONSE TO SPECIAL INTERROGATORY NO. 9:
                    23            Inter-Con objects to this Interrogatory on the grounds that it is vague and
                    24      ambiguous as to the meaning of"accommodating the disability."
                    25            Subject to this objection, Inter-Con responds as follows: Inter-Con Security
                    26      Systems, Inc.' s USMS Employee Handbook: sections 4.10 Reasonable
                    27      Accommodations and 7.7 Equal Opportunity Employment Policy.
                    28
BURKE, WILLIAMS         &                                                       CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP
  ATTOMNt.'Vfi AT LAW
                                                                        -6-         DEFENDANT'S RESPONSES TO
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                                                                                SPECIAL INTERROGATORIES, SET I
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.452 Page 13 of 106




                        1   SPECIAL INTERROGATORY NO.10:
                        2          IDENTIFY any and all of YOUR POLICIES and PROCEDURES
                        3   RELATING TO preventing retaliation in YOUR workplace from 2012-2018.
                        4   RESPONSE TO SPECIAL INTERROGATORY NO. 10:
                        5          Inter-Con objects to this Interrogatory on the grounds that it is vague and
                        6   ambiguous as to the meaning of"retaliation."
                        7          Subject to this objection, Inter-Con responds as follows: Inter-Con Security
                        8   Systems, Inc. 's USMS Employee Handbook: sections 2.3 Employee Complaints,
                        9   5.2 Equal Employment Opportunity, 7.0 Harassment Prevention Policy, 7.7 Equal
                       10   Opportunity Employment Policy, and 7.16 Code of Business Ethics and Conduct.
                       11
                       12   SPECIAL INTERROGATORY NO. 11:
                       13         IDENTIFY any and all PERSONS with knowledge of Plaintiff's alleged
                       14   medical condition during Plaintiff's employment with YOU.
                       15   RESPONSE TO SPECIAL INTERROGATORY NO. II:
                       16         Inter-Con objects to this Interrogatory on the following grounds: (1) it calls
                       17   for speculation as to the identities of "any and all PERSONS" with knowledge of
                       18   Plaintiff's medical condition; (2) it is vague and ambiguous as to the meaning of
                       19   "medical condition." Inter-Con will treat this as a request for the identity of all
                       20   Inter-Con employees with knowledge of Plaintiff's history of sleep apnea.
                       21         Subject to these objections, Inter-Con responds as follows: The individuals
                       22   currently known to Inter-Con are Dan Ryan, former Vice President for Operations;
                       23   Bret Lockhart, former Contract Manager; and Melvin Roberts, former District
                       24   Supervisor, Southern District of California, all physicians who have treated
                       25   Plaintiff, employees of the USMS.
                       26   ///
                       27   Ill
                       28   Ill
BURKE, WILLIAMS&:                                                                  CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP                                                        -7-             DEFENDANT'S RESPONSES TO
  ATTOtNIEl'I AT LAW
     LOS ANCl!I.EJi;
                                                                                   SPECIAL INTERROGATORIES, SET I
    Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.453 Page 14 of 106




                           1   SPECIAL INTERROGATORY NO. 12:
                           2          IDENTIFY any and all COMMUNICATIONS between YOU and Plaintiff
                           3   RELATING TO Plaintiffs alleged medical condition(s).
                           4   RESPONSE TO SPECIAL INTERROGATORY NO. 12:
                           5          Inter-Con objects to this Interrogatory on the following grounds: (1) it is
                           6   vague and ambiguous as to the meaning of"medical condition." Inter-Con will treat
                           7   this as a request for the identity of all communications between the parties
                           8   pertaining to Plaintiffs history of sleep apnea; (2) it is overbroad as to time.
                           9          Subject to these objections, Inter-Con responds as follows: Facsimile
                          10   Transmittal Sheet dated 2/23/2015, Facsimile Transmittal Sheet dated 12/1/2015,
                          11   Plaintiffs medical file.
                          12
                          13   SPECIAL INTERROGATORY NO. 13:
                          14          IDENTIFY any and all COMMUNICATION(s) between YOU and Plaintiff
                          15   in which Plaintiff requested he be accommodated for his perceived medical
                          16   conditions(s).
                          17   RESPONSE TO SPECIAL INTERROGATORY NO. 13:
                          18         Inter-Con objects to this Interrogatory on the grounds that it is vague and
                          19   ambiguous as to the meaning of "accommodated" and "perceived medical
                          20   condition." Inter-Con will treat this as a request for the identity of all
                          21   communications between the parties pertaining to Plaintiffs requests to be
                          22   accommodated due to his history of sleep apnea.
                          23         Subject to these objections, Inter-Con responds as follows: Plaintiff did not
                          24   request any accommodations pertaining to his history of sleep apnea.
                          25
                          26   SPECIAL INTERROGAT ORY NO. 14:
                          27         IDENTIFY any and all COMMUNICATION(s) RELATING TO Plaintiffs
                          28   request for an extension of time to complete his sleep study in 2015.
BURKE, WILLIAMS            &                                                           CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP
  ATT(lfl.NF.n AT LAW
                                                                          -8-             DEFENDANT'S RESPONSES TO
     Los A N<",l!:LFM'i                                                               SPECIAL INTERROGATORIES, SET I
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.454 Page 15 of 106




                        1   RESPONSE TO SPECIAL INTERROGATORY NO. 14:
                        2         Inter-Con objects to this Interrogatory on the grounds that it is overbroad as
                        3   to the meaning of"RELATING TO."
                        4         Subject to this objection, Inter-Con responds as follows: Memorandum from
                        5   Plaintiff Re: Denial of Request to Extend the Medical Review Due Date to June
                        6   29, 2015, Emails between Lisa Brown and Leah Sherman Re: Request for
                        7   Extension, Emails between Lisa Brown and Melvin Roberts Re: Sugimoto owes me
                        8   results 4/24/2015.
                        9
                       10   SPECIAL INTERROGATORY NO. 15:
                       11         IDENTIFY any and all accommodations YOU provided Plaintiff for
                       12   Plaintiffs alleged medical conditions.
                       13   RESPONSE TO SPECIAL INTERROGATORY NO. 15:
                       14         Inter-Con objects to this Interrogatory on the grounds that it is vague and
                       15   ambiguous as to the meaning of "accommodations" and "alleged medical
                       16   condition." Inter-Con will treat this as a request for the identity of all
                       17   accommodations Inter-Con provided Plaintiff due to his history of sleep apnea.
                       18         Subject to these objections, Inter-Con responds as follows: Plaintiff did not
                       19   request any accommodations pertaining to his history of sleep apnea.
                       20
                       21   SPECIAL INTERROGATORY NO. 16:
                       22         IDENTIFY any and all PERSON(s) with knowledge about the facts and/or
                       23   circumstances related to the allegations contained in Plaintiffs Complaint.
                       24   RESPONSE TO SPECIAL INTERROGATORY NO. 16:
                       25         Inter-Con objects to this Interrogatory on the grounds that it (1) is vague and
                       26   ambiguous as to the meaning of "with knowledge" and "facts and/or
                       27   circumstances," (2) it assumes that the allegations in Plaintiff's Complaint are true,
                       28   which Inter-Con neither admits nor concedes, (3) it calls for speculation, (4) it is
BURKE, WILLIAMS         &                                                           CASE NO.: 3:19-CV-00025-DMS-BLM
 SORENSEN, LLP                                                         -9-              DEFENDANT'S RESPONSES TO
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                                                                                    SPECIAL INTERROGATORIES, SET 1
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.455 Page 16 of 106




                      1   overbroad, not proportional to the needs of this case, and unduly burdensome, and
                      2   (5) it is harassing due to its overbreadth.
                      3          Subject to these objections, Inter-Con responds as follows: Dan Ryan, former
                      4   Vice President for Operations; Bret Lockhart, former Contract Manager; Melvin
                      5   Roberts, former District Supervisor, Southern District of California; and Leah
                      6   Sherman, Contractor, Project Support Services at United States Marshals Service,
                      7   Plaintiff, Plaintiff's counsel, and the undersigned counsel of record.
                      8
                      9   SPECIAL INTERROGATORY NO. 17:
                  10             State the number of employees who were terminated by YOU from 2013
                  11      through 2015 who had a documented disability.
                  12      RESPONSE TO SPECIAL INTERROGATORY NO. 17:
                  13            Inter-Con objects to this Interrogatory on the grounds: (1) it is vague and
                  14      ambiguous as to the meaning of"documented disability" (2) it is overbroad, not
                  15      proportional to the needs of this case, and unduly burdensome (3) it is harassing
                  16      due to its overbreadth; and (4) it seeks a legal conclusion regarding the definition of
                  17      "disability."
                  18
                  19      SPECIAL INTERROGATORY NO. 18:
                  20            State the number of Court Security Officers who were terminated by YOU
                  21      from 2013 through 2015 who had a documented disability.
                  22      Ill
                  23      Ill
                  24      Ill
                  25      Ill
                  26      Ill
                  27      Ill
                  28      Ill
BURKE, WILLIAMS       &                                                         CASE NO.: 3: 19-CV-00025-DMS-BLM
  SoRENSEN, LLP                                                     - 10 -         DEFENDANT'S RESPONSES TO
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                                                                               SPECIAL INTERROGATORIES, SET l
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.456 Page 17 of 106




                      1   RESPONSE TO SPECIAL INTERROGATORY NO. 18:
                      2         Inter-Con objects to this Interrogatory on the grounds: (1) it is vague and
                      3   ambiguous as to the meaning of"documented disability" (2) it is overbroad, not
                      4   proportional to the needs of this case, and unduly burdensome (3) it is harassing
                      5   due to its overbreadth; and (4) it seeks a legal conclusion regarding the definition of
                      6   "disability."
                      7
                      8
                          Dated: June 14, 2019                  Burke, Williams & Sorensen, LLP
                      9
                     10
                     11
                                                                By:  dM~A )
                                                                   Cheryl Johnn-artweii
                                                                   Mitchell A. Wrosch
                     12                                            Lindsay M. Samuel
                     13                                            Attorneys for Defendant,
                                                                   INTER-CON SECURITY SYSTEMS,
                     14                                            INC.
                     15
                     16
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BURKE, WILLIAMS &t                                                              CASE NO.: 3:19-CV-00025-DMS-BLM
  SORENSEN, LLP                                                    - ll -          DEFENDANT'S RESPONSES TO
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Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.457 Page 18 of 106




                                                      VERIFICATION
         2
         3           I have read the foregoing DEFENDANT INTER-CON SECURITY SYSTEMS, INC.'S
         4    RESPONSES TO PLAINTIFF'S INTERROGATORIES, SET ONE.
         5           I, Richard Stack, am the Chief Operating Officer at INTER-CON SECURITY
         6    SYSTEMS, INC., a party to this action, and am authorized to make this verification for and on
         7    its behalf, and I make this verification for that reason. DEFENDANT INTER-CON SECURITY

         8    SYSTEMS, INC. 'S RESPONSES TO SPECIAL INTERROGATORIES, SET ONE were
         9    prepared with the assistance of counsel for INTER-CON SECURITY SYSTEMS, INC., based
        10    on the information available to INTER-CON SECURITY SYSTEMS, INC., at the time of this

        11    verification, and I am relying upon the advice of counsel in making this verification. I am
        12    informed and believe, and on that ground allege, that the matters stated in the foregoing
         13   document are true.
        14           I declare under penalty of perjury under the laws of the State of California that the

         15   foregoing is true and correct.
         16          Executed on June 11, 2019 at Pasadena, California.

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   Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.458 Page 19 of 106




                          1                                             PROOF OF SERVICE
                          2             I, Olga Valadez, declare:

                          3             I am a citizen of the United States and employed in Los Angeles County, California. I am

                          4   over the age of eighteen years and not a party to the within-entitled action. My business address

                          5   is 444 South Flower Street, Suite 2400, Los Angeles, California 90071-2953. On June 14, 2019, I

                          6   served a copy of the within document(s):

                         7                        DEFENDANT, INTER-CON SECURITY SYSTEMS, INC.'S
                                                  RESPONSES TO PLAINTIFF, GENE SUGIMOTO'S
                         8                        SPECIAL INTERROGATORIES, SET ONE
                         9                        by transmitting via facsimile the document(s) listed above to the fax number(s) set
                         10
                                      □           forth below on this date before 5:00 p.m.

                     11                           by placing the document(s) listed above in a sealed envelope with postage thereon
                                                  fully prepaid, the United States mail at Los Angeles, California addressed as set
                     12                           forth below.

                     13                           by placing the docurnent(s) listed above in a sealed _ _ _ _ envelope and

                     14
                                     □            affixing a pre-paid air bill, and causing the envelope to be delivered to
                                                  a _ _ _ _ agent for delivery.
                     15
                                                  by personally delivering the document(s) listed above to the person(s) at the
                     16               □           address(es) set forth below.

                                                  by transmitting via e-mail or electronic transmission the document(s) listed above
                                     □
                     17
                                                  to the person(s) at the e-mail address(es) set forth below.
                     18

                     19
                              Aisling S. Gilliland, Esq.                                 Attorneys for Plaintiff
                     20       The Gilliland Firm                                         GENE SUGIMOTO
                              402 West Broadway, Suite 1760
                     21       San Diego, CA 9210 I
                              Telephone: (619) 878-1580
                     22       Fax: (619) 878-6630
                              aisling@thegillilandfirm.com
                     23
                              Corey P. Hanrahan, Esq.
                     24       The Hanrahan Firm
                              402 West Broadway, Suite 1760
                     25       San Diego, CA 92101
                              Telephone: (619) 377-6522
                     26       Fax: (619) 377-6662
                              coreyrathanrahanfirm.com
                     27

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BURKE, WILLIAMS &c
  SORENSEN, LLP               IRV #4816-8523-6104 v I
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  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.459 Page 20 of 106




                     1            I am readily familiar with the firm's practice of collection and processing correspondence

                     2   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same

                     3   day with postage thereon fully prepaid in the ordinary course of business. I am aware that on

                     4   motion of the party served, service is presumed invalid if postal cancellation date or postage

                     5   meter date is more than one day after date of deposit for mailing in affidavit.

                     6            I declare that I am employed in the office of a member of the bar of this court at whose

                     7   direction the service was made.

                     8            Executed on June 14, 2019, at Los Angeles, California.

                     9

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BURKE, WILLIAMS      &
  SORENSEN, LLP          IRV #4816-8523-6104 vi                           -2-
  ATTOKNEVS AT LAW
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Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.460 Page 21 of 106




                                EXHIBIT 2
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.461 Page 22 of 106




                              In The Matter Of:
                             GENE SUGIMOTO v.
                      INTER-CON SECURITY SYSTEMS, INC.




                                 RICHARDT. STACK
                                    August 29, 2019




                          SCHULER COURT REPORTING
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.462 Page 23 of 106

                                        RICHARDT. STACK                             11


      1     CSO, or is it a different position?

      2          A      No, I was an armed security officer with

      3     Inter-Con when I first started my employment.

      4          Q      Okay.     Do you have a recollection or knowledge

      5     of when it was that Mr. Sugimoto's employment was

      6     terminated with Inter-Con?

      7          A      It was early of 2015.

      8          Q      Do you have a recollection of what the exact

      9     date was?

    10           A      Not the exact date.

    11           Q      How about an estimate?

     12          A      I believe it was April of 2015.

     13          Q      And at that time you were the executive vice

     14     president of operations, correct?

     15          A      Yes.

     16          Q      And as the executive vice president of

     17     operations at that time, were you involved in the

     18     decision to terminate Mr. Sugimoto's employment?

     19          A      I was.

     20          Q      In addition to you, tell me all of the other

     21     people who were involved in the decision to terminate

     22     Mr. Sugimoto' s employment.

     23 •        A      Natalie Griffiths, Inter-Con's associate
     24     counsel.     Dan Ryan, Inter-Con's senior vice president of

     25     operations.        Robert Posey, Inter-Con's 9th Circuit

                                    SCHULER COURT REPORTING
                                          858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.463 Page 24 of 106

                                         RICHARDT. STACK                            12


      1    manager.
      2            Q     Anyone else?
      3            A     Not that I can think of, no, sir.
      4            Q     Of you and the three other people that you just
      5    identified, who was the first person that broached the
      6    idea of terminating Mr. Sugimoto's employment?
      7            A     Daniel Ryan.
      8            Q     And do you know who Daniel Ryan broached that
      9    with?       Was it you?    Was it Ms. Griffiths?    Was it
     10    Mr. Posey?
     11            A     Natalie Griffiths.
     12            Q     Were you there when that conversation took
     13    place?
     14            A     It was an email.
     15            Q     And what did the email say?
     16            A     The email which was ultimately forwarded to me
     17    explained that Inter-Con had received a medical
     18    disqualification notice from the United States Marshals
     19    Service, and in accordance with the contract,
     20    Mr. Sugimoto had to be removed from the contract.
     21            Q     Did you review that email from Mr. Ryan to
     22    Ms. Griffiths to prepare for your deposition today?
     23            A     I did, because I was then a party to that email
     24    from Ms. Griffiths.
     25,           Q     Right.   So you were party to the email back

                                     SCHULER COURT REPORTING
                                           858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.464 Page 25 of 106

                                        RICHARD T. STACK                            36


     1    that.       Are you guys claiming privilege over the
     2    communications with Ms. Griffiths now?
     3                  MR. WROSCH:     Yeah.
     4                  MR. HANRAHAN:     Okay.

     5    BY MR. HANRAHAN:

     6            Q    Are you going to follow that instruction, sir?
     7            A     I am.
     8            Q     Other than Ms. Griffiths, upon receiving the
     9    December 1st, 2014, request from U.S. Marshals Service
    10    requesting medical information from Mr. Sugimoto, did
    11    you make an effort to speak with anyone else to
    12    determine whether or not the U.S. Marshals Service had
    13    that right to request that medical information?
    14            A     No.
    15            Q     Did you make an effort to determine whether or
    16    not you had the ability or Inter-Con had the ability to
    17    inquire of the U.S. Marshals Service as to what
    18    specifically caused them to request that additional
    19    medical information?
    20            A    No.
    21            Q    Were you involved in the process, in December
    22    of 2014, to provide the information that Mr. Sugimoto
    23.   provided to Inter-Con to the U.S. Marshals Service?
    24            A    No.
    25            Q    Do you know who was involved in that process?

                                 SCHULER COURT REPORTING
                                       858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.465 Page 26 of 106

                                     RICHARDT. STACK                                41


     1    frame is, I'm not party to -- they were unable, and the

     2    way they mark it was medical determination is deferred.

     3    Meaning they were unable to say approved or disapproved

     4    pending further documentation.        And the further

     5    documentation are the requests of information 1, 2 and

     6    3, and everything included with them on the medical

     7    review.

     8              So at the time of December 1st he had not been

     9    qualified or disqualified.       It was we need more

    10    information to make that determination.

    11          Q   During the period of June 2014 to December 2014

    12    had anyone at the U.S. Marshals Service advised

    13    Inter-Con that Mr. Sugimoto was not performing his

    14    duties well?

    15         A    No.

    16         Q    Or drowsy at work?

    17         A    No.

    18         Q    Sleeping at work?

    19         A    No.

    20         Q    So then after providing the documentation in

    21    response to the December 1st, 2014, request, you

    22    indicated that the U.S. Marshals Service requested after

    23    that, sometime in February 2015, that Mr. Sugimoto
    24:   undergo a sleep study, correct?

    25         A    No.   I think I said they requested more

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.466 Page 27 of 106

                                     RICHARD T. STACK                               44


     1.        Q    Are you sure?
     2         A    I believe.
     3         Q    What is Inter-Con's policy on requesting
     4    extensions of time from the U.S. Marshals Service for

     5    employees to provide medical documentation that was

     6·   requested?
     7         A    I believe our practice was if it was requested
     8    within the first several days of being in receipt, then
     9    Inter-Con would, in fact, request an extension.           If it
    10    was requested within the last few days of being due,
    11    then we would not, based off of our many conversations
    12    with the Marshals Service.
    13         Q    So at the time that Mr. Sugimoto received the
    14    February 2015 request for additional medical

    15    information, Inter-Con was aware that if a request for
    16    an extension to provide it was made closer in time to
    17    the due date, that the U.S. Marshals Service would deny
    18    it, correct?

    19         A    That is correct.
    20              (Exhibit 4 was marked for identification
    21              by the court reporter.)
    22    BY MR. HANRAHAN:

    23         Q    Let me show you Exhibit 4.        Have you seen this
    24    email before, sir?
    25,        A    I have.

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.467 Page 28 of 106

                                          RICHARDT. STACK                           45


      1           Q     Had you seen this email prior to Mr. Sugimoto's

      2   termination?

      3           A      I believe I did.
      4           Q     And this email, the email on the top, is an

      5   email from Ofelia Villarreal to Melvin Roberts on March

      6   24th, 2015, correct?

      7           A     Correct.

      8           Q     And is it Mrs. Villarreal?      A female?   A male?

      9           A      It's a female.

    10            Q     Okay.

    11            A      I'm not sure if she's married or not.

    12            Q      So Ms. Villarreal writes, "I have forwarded to

    13    Dan for approval since Bret is traveling.           I did advise

    14    that this had been pending approval for two weeks now.

     15   I'll advise if and once I get it back."           Do you see

     16   that?

     17           A      I do.

     18           Q      So isn't it true that as of March 24th, 2015,

     19   Mr. Sugimoto's request for pre-authorization of the

     20   medical expenses related to the sleep study, or whatever

     21   the medical information was that was being requested,
     22   had been pending and unanswered for two weeks?

     23           A      I think this is just shy of two weeks, by the
     24   way.        This is 13 days.     But yes.
     25           Q      How do you know it's 13 days?

                                   SCHULER COURT REPORTING
                                         858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.468 Page 29 of 106

                                        RICHARD T. STACK                            46


      1            A     Well, March 24th from March 11th, the

      2    pre-authorization starting the request.

      3            Q     Okay.    So in any event, this is longer than
      4 • nine days, correct?

      5            A     I   believe I said eight.    And it's longer.   I

      6    might have been discussing business days or calendar

      7:   days.       But yes.
      8            Q     Well, if we find ourselves in that position

      9    later, and there is a distinction between calendar days

    10     or business days, let me know.            Okay?
    11             A     Will do.
    12             Q     Okay.    Now, you indicated that you had seen

    13     Exhibit 4 prior to Mr. Sugimoto's termination, correct?

    14             A     Correct.

    15             Q     And at that point, prior to making the decision

    16     to terminate, knowing you had seen Exhibit 4, did you
    17,    contact Ms. Villarreal or Mr. Roberts to ask them what

    18     the holdup was with the pre-authorization?

    19             A     I did not.
    20             Q     Why not?

    21             A     Because I saw this in a longer string, which I
    22     believe we produced for you, where the approval was

    23     there.
     24            Q     And do you know when it was finally approved?
     25            A     I don't remember the exact date, no.      I would

                                    SCHULER COURT REPORTING
                                          858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.469 Page 30 of 106

                                     RICHARDT. STACK                                47


     1    have to see it.
     2          Q   Prior to terminating Mr. Sugimoto's employment,
     3    did you ask anyone at Inter-Con why it was that since
     4.   the approval was taking so long, that an extension was
     5    not requested of the U.S. Marshals Service earlier on?
     6         A    No.
     7          Q   Looking back at it now, do you think it would
     8    have made sense that given the pre-authorization was
     9    pending for at least several weeks, that Inter-Con would
    10    have reached out to the U.S. Marshals Service to request
    11    an extension earlier on?
    12         A    No.
    13          Q   Did Mr. Sugimoto have the ability to reach out
    14    directly to the U.S. Marshals Service to request an
    15 · extension?
    16         A    He could contact them directly, as many
    17    employees do, and he could have asked us.          I did not see
    18    anything in his file where he requested Inter-Con, "May
    19    I please have an extension," at the time this
    20    pre-authorization was being reviewed.
    21         Q    Do you know if anyone at Inter-Con advised
    22    Mr. Sugimoto of how long it was going to take to obtain
    23    authorization for the charges?
    24         A    I don't know.
    25         Q    Prior to terminating Mr. Sugimoto's employment,

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.470 Page 31 of 106

                                     RICHARD T. STACK                               48


     1    did you make any effort to determine whether or not
     2    anyone at Inter-Con had advised Mr. Sugimoto of the
     3    expected time frame on receiving authorization for the
     4    medical charges?
     5          A   I did not.
     6          Q   Do you know when the first time that it was
     7    that Inter-Con made a request of the U.S. Marshals
     8    Service to receive an extension for Mr. Sugimoto to turn
     9    in the medical information requested?
    10          A    I do not.
    11          Q   Did you ever make an effort to question Lisa
    12    Brown with regard to when it was that Mr. Sugimoto's
    13    extension was first requested?
    14          A   I did not.
    15          Q   I'll show you what I'll mark as Exhibit          5   to
    16    your deposition.
    17               (Exhibit 5 was marked for identification
    18              by the court reporter.)
    19    BY MR. HANRAHAN:

    20          Q   Does Lisa Brown still work for Inter-Con?
    21          A   She does not.
    22          Q   Do you know when she left?
    23          A   Sometime in late summer or fall of 2015.
    24          Q   Was she terminated or did she resign?
    25              MR. WROSCH:     Objection; beyond the scope of the

                                 SCHULER COURT REPORTING
                                       858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.471 Page 32 of 106

                                       RICHARDT. STACK                              49


      1    deposition notice.       Violates her privacy rights.

     2                 You can answer if you know personally.

     3                 THE WITNESS:    She resigned.
     4     BY MR. HANRAHAN:

     5             Q   Okay.   If you take a look at Exhibit 5 in front

     6     of you, sir, this is an email, on the bottom, from Mel

     7     Roberts to Lisa Brown on April 14th, 2015.         Do you see
     8     that?
     9.            A   Yes.
    10             Q   And Mr. Roberts writes to Ms. Brown "Also, any
    11     word on Sugimoto's extension?"       Do you see that?
    12             A   I do see it.
    13             Q   Do you know if, prior to April 14th, 2015, that
    14     anyone at Inter-Con had made a request to the U.S.

    15     Marshals Service for an extension of time for

    16     Mr. Sugimoto to provide his medical information?

    17             A   I do not.
    18             Q   You understand that Mr. Sugimoto was terminated

    19     because he failed to get the medical information to

    20     Inter-Con, to then provide to the U.S. Marshals Service,

    21 ·   by the deadline set by the U.S. Marshals Service,
    22     correct?

    23             A   I believe he was terminated because the
    24     Marshals Service said he was no longer qualified under

    25     the contract.

                                   SCHULER COURT REPORTING
                                         858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.472 Page 33 of 106

                                        RICHARD T. STACK                            50


      1           Q     For not getting the medical documentation back

      2   by the deadline set by them, correct?

      3           A     Correct.
      4           Q     But sitting here today, you have no idea when
      5   it was that Inter-Con first made a request for an

      6   extension for Mr. Sugimoto to provide that
      7   documentation, correct?

      8           A     I do not.
     9            Q     Did you make any effort to determine when it
    10    was that Inter-Con first made that request?
    11            A     I have not.
    12            Q     How are those requests made?       Are they phone
    13    call?       Text message?    Email?
    14            A     They're typically email.
    15            Q    Who would have been the person at Inter-Con, in

    16    April of 2015, that would have made that request?
    17            A    Lisa Brown.
    18            Q     Is there anyone else at that time that would

    19    have been responsible for that, or was that solely Lisa
    20    Brown's jurisdiction?

    21            A    That was Lisa Brown.
    22            Q    To prepare for your deposition today did you
    23    make any effort to search Lisa Brown's email to
    24    determine when it was, if ever, that she requested an
    25    extension for Mr. Sugimoto?

                                    SCHULER COURT REPORTING
                                          858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.473 Page 34 of 106

                                       RICHARD T. STACK                             51


     1         A      No, I did not.
     2         Q      Had you seen Exhibit 5 prior to terminating

     3    Mr. Sugimoto's employment?

     4         A      I don't recall.

     5         Q      Prior to terminating Mr. Sugimoto's employment,
     6'   though, did you try to make an effort to determine what

     7    efforts Inter-Con had undertaken to get an extension for

     8    Mr. Sugimoto?

     9         A      I did speak with Mr. Ryan about why the
    10    information wasn't submitted in a timely fashion and why
    11    we had gotten to this point.        Because it's very
    12    expensive for Inter-Con to lose any employee on these

    13    programs.     And I would not have a new employee cleared
    14    for at least six months.        So we don't take it lightly
    15    anytime we have to let somebody leave the program.
    16         Q      And what did Mr. Ryan tell you?
    17         A      He explained to me the first request was back
    18    in December, the second request came back in February,

    19    and that the information had not been provided.           And it
    20    was approved for him to get the tests done, the medical

    21    clearance.
    22                He also explained to me that Mr. Sugimoto had
    23    previously requested reimbursemen t for medical exams.
    24    So he knew the process, and that had been done.           Because
    25    I was asking also, "Is this the first time he's ever had

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.474 Page 35 of 106

                                     RICHARD T. STACK                               53


     1          Q    And if you look at this email from Lisa Brown

     2    to Barbara Hayes and Lisa Sherman, with a copy to Lena
     3    Horvat, Ms. Brown is requesting an extension for
     4    Mr. Sugimoto to turn in his medical information,

     5    correct?

     6          A    That is correct.

     7          Q    And this request, on Exhibit 6, is made one day
     8    after Mr. Roberts emailed her on April 14th and asked
     9    for, quote-unquote, "any word on Sugimoto' s extension?"
    10    Do you see that?
    11          A    I did.
    12          Q    Does this appear to you that Mr. Roberts was
    13    under the impression on April 14th, 2015, that the
    14    extension request had already been made, when, in fact,

    15.   Lisa Brown made it for the first time the following day,
    16    on April 15?
    17               MR. WROSCH:    Objection; calls for speculation.
    18               THE WITNESS:    I have no idea what Mr. Roberts
    19    was thinking.
    20    BY MR. HANRAHAN:
    21          Q    Did you ever ask him?
    22          A    No.
    23          Q    Did you ever meet with Mr. Roberts and ask him
    24    why it was he was asking about Mr. Sugimoto's extension
    25.   on April 14th?

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.475 Page 36 of 106

                                       RICHARD T. STACK                             54


      1            A   No.
      2            Q   Did you ever meet with Lisa Brown and ask her
      3       if the first time she requested an extension for
      4       Mr. Sugimoto was April 15th, 2015?
      5   i        A   I did not.
          I
      6.           Q   Did you know what time the medical records were
      7       requested to be submitted by the U.S. Marshals Service?
      8            A   If I saw a date for that, if I had the Medical
      9       Review Form, I could tell you the exact date it was due.
     10 ,          Q   It was sometime end of April 2015, correct?
     11           A    I believe, but I'd have to see the exact date.
     12            Q   Do you know when it was that Mr. Sugimoto first
     13       made a request to Inter-Con for an extension to provide
     14.      his medical information?
     15           A    I do not.
     16            Q   Did you ever ask him when it was that he first
     17       made a request for an extension from Inter-Con in order
     18       to provide his medical information to Inter-Con to
     19       provide to the U.S. Marshals Service?
     20           A    I did not.
     21            Q   Was it important for you, before terminating
     22.      Mr. Sugimoto's employment for not providing the
     23       documentation to Inter-Con to provide to the U.S.
     24       Marshals Service, to determine why it was that the
     25       documentation had not been submitted by the deadline?

                                   SCHULER COURT REPORTING
                                         858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.476 Page 37 of 106

                                      RICHARDT. STACK                               62


      1           Q   And it looks like on April 27, 2015, Lea
      2   Sherman sent an email to Lisa Brown, Lena Horvat, Dan

      3   Ryan, Bret Lockhart, copying Barbara Hayes, indicating
      4   that Mr. Sugimoto is "non-compliant with providing
      5   medical information in order for FOH to make a

      6   determination. "    And then in parentheticals, " ( Requested
      7   on 2/19/15 with a due date of 4/19/15.)"          Do you see
      8   that?
     9            A   Yes, sir.
    10            Q   Does that refresh your recollection that
    11    Mr. Sugimoto was expected to turn in the medical

    12    documentation by April 19th, 2015?
    13            A   By reviewing this, I believe that would be
    14    correct, yes.
    15            Q   And that was more than a month after the
    16    extension was requested for Mr. Sugimoto by Mr. Roberts,
    17    correct?
    18            A   That is correct.
    19            Q   Do you know what the time frame was that the
    20    U.S. Marshals Service said if the extension is requested
    21    toward the beginning of the request, that we'll grant
    22    it, but if it's later in the game, so to speak, we
    23.   won't?
    24         A      They typically expected it to be done within
    25    seven days.

                                  SCHULER COURT REPORTING
                                        858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.477 Page 38 of 106

                                      RICHARDT. STACK                               67


     1            Q   Okay.     So had Mr. Sugimoto went ahead and

     2       incurred the expenses for the sleep study without

     3       seeking pre-authorization, he would have been running

     4       the risk that he would have to bear those costs out of

     5       pocket, correct?

     6            A   That could be a risk, yes.

     7            Q   In fact, that's what the pre-authorization form

     8   i   says, correct?

     9            A   That is correct.     However, I can tell you he

    10       would have been forced to pay for it, there would have

    11       been a grievance, and I would have been paying to settle

    12       the grievance.     But yes, I understand your question.

    13            Q   Okay.     Did anyone, in February, March or April

    14       of 2015, advise Mr. Sugimoto that he could forego the

    15       pre-authorization, do the doctor's appointment, and that

    16       Inter-Con would reimburse him for the cost?

    17            A   Not that I'm aware of.

    18            Q   And so based on the letter from the U.S.

    19       Marshals Service that indicated that Mr. Sugimoto's

    20       documentation was due on April 19th, and Ms. Brown's

    21       request for an extension of time on April 15th, it looks

    22       like she made the request four days before the due date.

    23           A    Correct.
    24           Q    Do you know whether or not Ms. Brown's request

    25       for an extension for Mr. Sugimoto was granted or denied?

                                  SCHULER COURT REPORTING
                                        858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.478 Page 39 of 106

                                      RICHARD T. STACK                              75


      1   qualified to perform under the contract?          Have you ever
     2    challenged that?

     3                MR. WROSCH:    Objection; outside the scope of
      4   the deposition.

     5                You can answer with personal knowledge, if you
     6    know.
     7                THE WITNESS:     I know that we have challenged
     8    terminations or demotions or removals.          What the exact

     9    requirements or the circumstances were, I cannot recall.
    10    We haven't been performing this contract for some time
    11    now, and I didn't prepare for that when I came in today.
    12    BY MR. HANRAHAN:

    13            Q   But as you sit here today, do you have a
    14    recollection that there was a time that Inter-Con
    15    opposed or challenged the U.S. Marshals Service's

    16    instruction to terminate an employee, for which
    17    Inter-Con was successful in saving the employee's job?
    18,               MR. WROSCH:     Same objections.
    19                THE WITNESS:     I can't recall if they were
    20    successful or not.        But I do recall that we have gone
    21    back to the Marshals Service, I don't know if it was for
    22    a medical disqualification or a performance standard
    23    disqualification or what it may be, but I just didn't
    24    review that prior to coming in.
    25    BY MR. HANRAHAN:

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.479 Page 40 of 106

                                     RICHARD T. STACK                               78


     1    through a subcontractor, did Inter-Con not employ any of
     2:   those employees?

     3•         A   At that time, and up until probably two, three

     4    weeks ago, I believe that to be correct, yes.

     5          Q   Were there any positions available with

     6    Inter-Con anywhere in Southern California?

     7          A   Could you define what you consider Southern

     8    California?

     9          Q   Los Angeles down to San Diego.

    10          A   Yeah, Los Angeles, but I wouldn't consider that
    11    to be within the same work area.        There were Los Angeles

    12    positions, but I don't think it's reasonable to think

    13    somebody would drive from San Diego to Los Angeles every

    14    day for work.

    15          Q   Did anybody at Inter-Con, in April of 2015,

    16    though, ask Mr. Sugimoto whether or not he would like a

    17    job with Inter-Con that was located in Los Angeles?

    18          A    I don't know that they did, no.

    19          Q   Are there any locations that Inter-Con provides
    20    services between Los Angeles and San Diego, like

    21    Santa Ana, Irvine, Anaheim?

    22          A   There are some, yes.

    23          Q   What would those locations be?         And I'm talking
    24    now about the April of 2015 time frame.

    25          A    I can't recall them all off the top of my head.

                               SCHULER COURT REPORTING
                                     858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.480 Page 41 of 106

                                       RICHARDT. STACK                              79


     1        Again, I didn't see that as a notice where it said know
     2        all the other work locations.        But we did sporadic work

     3        for Southern California Edison, where a post would be

     4        open for four, five hours and then closed, to watch a

     5        generator.     There may have been a DMV, an unemployment

     6        office, but I don't recall them all off the top of my

     7        head.

     8                Q   In April of 2015, though, when it was decided

     9        that Mr. Sugimoto's employment would be terminated

    10        because the U.S. Marshals Service found him not

    lli       qualified to perform under the contract, did you make an

    12        effort to look at the other locations in Southern

    13        California, Los Angeles down to San Diego, for which

    14        Mr. Sugimoto may have been qualified to perform?

    15                A   Not from Los Angeles, no.

    16                Q   What area did you look specifically?

    17                A   It was San Diego, as I previously testified.

    18                Q   What would be the geographical parameter of

    19        what you considered San Diego, for which you were

    20        exploring?

    21                A   I would say anything from San Onofre down to

    22        the border of Mexico and California.

    23                Q   And there were no openings anywhere in that
    24 ;      area?
          !



    25                A   Not that I recall, no.

                                   SCHULER COURT REPORTING
                                         858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.481 Page 42 of 106

                                       RICHARDT. STACK                              80


     1              Q   And no effort to ask Mr. Sugimoto if he would

     2      be willing to work outside of that area, correct?
     3                  MR. WROSCH:    Asked and answered.

      4                 THE WITNESS:     Not that I'm aware of.

     5      BY MR. HANRAHAN:

      6             Q   Was there anything about the U.S. Marshals

      7     Service's opinion that Mr. Sugimoto was not qualified to

      8     perform under their contract that would have prevented

      9     him from continuing to work for Inter-Con in a different

    10      capacity under a different contract?

    11              A   Not if he met the qualifications of that
    12      specific contract, no.

    13              Q   Do you know if anybody from Inter-Con met with

     14     Mr. Sugimoto on April 27th, 2015, or thereafter, to go

    15      over open positions with him?

     16             A   I'm not aware.

     17             Q   At some point after Mr. Sugimoto's termination,

     18     were there any discussions at Inter-Con about how the

     19     company should handle requesting from the U.S. Marshals

     20     Service extensions for employees to submit medical
     21     information?

     22 •               MR. WROSCH:    Objection; outside the scope of

     23     the notice.
     24                 You can answer from personal knowledge, if you

     25     know.

                                 SCHULER COURT REPORTING
                                       858.518.1619
                                    RICHARD T. STACK                              89
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.482 Page 43 of 106


      1                I, the undersign ed, a Certified Shorthand

      2     Reporter of the State of Californi a, do hereby certify:

      3                That the foregoing proceedin gs were taken

      4     before me at the time and place herein set forth; that

      5     any witnesses in the foregoing proceedin gs, prior to

      6;    testifyin g, were duly sworn; that a record of the

      7     proceedin gs was made by me using machine shorthand ,

      8     which was thereafte r transcrib ed under my direction ;

      9     that the foregoing transcrip t is a true record of the

     10     testimony given.

     11                Further, that if the foregoing pertains to the

     12     original transcrip t of a depositio n in a federal case,

     13     before completio n of the proceedin gs, review of the

     14     transcrip t [X] was [ ] was not requested .

     15 ·              I further certify I am neither financial ly

     16     intereste d in the action nor a relative or employee of

     17     any attorney or party to this action.

     18
     19                IN WITNESS WHEREOF, I have this date subscribe d

     20     my name.

     21
            Dated: September 13, 2019
     22

     23

     24                      SUSAN H. CAIOPO~LOS
                             CSR No. 8122
     25

                                SCHULER COURT REPORTING
                                      858.518.1619
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.483 Page 44 of 106




                               EXHIBIT 3
        Case 3:19-cv-00025-DMS-BLM  Document 32-3 Filed 11/01/19 PageID.484 Page 45 of 106
                             ~narp Rees                    Stealy - San Diego          L. daD
                                                   2929 Health Center Drive
                                                     San Diego CA 92123


                                                               iLetter                     ~A nn Rees-Steajy
                                                                                           u~~ Medical Group
  SUGIMOTO, GENE
  MRN: 1800773

  May 8,2009
                                                                                                  Stephe n H. Lee, M.D.
                                                                                                  Pulmonary & Critical Care

  To: Judicial Security Division                                                         2929 Health Center Drive, San Diego, CA 92123
  Re: Gene Sugimoto, DOB 6/14/48                                                         (858) 939-6570 "'~ FAX (858) 874-2395

 I saw Mr. Sugimoto in my clinic 5/8/09 for evaluation of obstructive sleep apnea (OSA) as part
                                                                                                  of a pre-employment
 examination. He has a history of OSA that was diagnosed over 10 years ago at an outside facility.
                                                                                                     I do not have details of this
 study. At that time, he had problems with occasional excessive and bothersome daytime sleepines
                                                                                                    s. By his report, he was started
 on CPAP therapy, but only used it for about two weeks as he could not tolerate it at all. He was then
                                                                                                        evaluated by an ENT
 physician, but surgical treatment was not offered.

 He subsequently made some lifestyle changes and lost about 20 pounds. Since then, he states that
                                                                                                  he has not had any problems
 with bothersome excessive daytime sleepiness. He feels refreshed upon awakening from sleep in
                                                                                                 the morning. He is alert during
 the day. The Epworth Sleep Scale score today was I.

 He denies any problems with concentrating or focusing on tasks. No mood disorders or memory
                                                                                                   problems were reported.
 In summary, based on the above, I do not think a repeat sleep study is indicated at this time.

 If you have any questions or concerns, I can be reached at my office, 858-939-6570.




Stephen . Lee, MD
Pulmonary and Critical Care Medicine
Sharp Rees-Stealy Medical Group



Electronically signed by:STEPHEN H LEE M.D. May 8 2009 4:49PM PST Author




   This documen t is privileged and confidential, and is intended for those individuals personal
                                                                                                 ly involved in the care of
individual patients who may be identifiable from this informat ion. AU other use or disclosur
                                                                                              e is strictly prohibite d unless
specifically and legally authorize d.

  Printed: 05/08/2009 4:49PM                  Printed from Toucbwo rks                                   I ofl
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.485 Page 46 of 106




                               EXHIBIT4
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.486 Page 47 of 106



                                                           U.S. Department of .rusticc

                                                           lJnited States Marshals Service

                                                           .!11dicial Security Division




l'vlr. Jerry Neville
Inter-Con Security Systems, Inc.
1631 Prince Street
Alexandria, VA 22314

Dear Mr. Nevil1e,

       This is an official notification that this office has completed the medical evaluation
process for each applicant for whom a "Medically Qualified" Medical Review Fom1 is attached.
Based upon a review of the information received, the applicants have successfully met the
medical standards of the United States Marshal                     contr t. Therefore, each
applicant is medically approve

       In accordance with provisions of the contract, this approval will remain in effect for a
period of one year, starting from the applicant's last examination date.

       If you have any questions or concerns regarding this matter, please contact Assistant
Chief Marti A. Stanley, Office of Court Security, at (202) 307-9416.


                                                        Sincerely,



                                                \            l 1 \ -----
                                                    \,__;f---    Ne~
                                                             Daniel S. Hall
                                                              Chief
                                                              Office of Court Security


Enclosures
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.487 Page 48 of 106




                               EXHIBIT 5
 Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.488 Page 49 of 106
                                             Judici al Secur ity Divisio n
                                                  Medical Review Form
LE Incumbent Name:          Gene Sugimoto Date of Birth:       Age: 62                                 Gender: M
SSN:                        XXX-XS-4799   LE Incumbent Court Security Officer
Examining Facility: ,   ,
Circuit   s5\ ~
Report of Medical Examination:    Date: 3/20/201 0          This review is based on              FY: 2010
Supplemental Medical Information: Date:                     Supplemental Medical Received        Date:


YOUR STATUS IS: Medically qualified

Incumbent has no medical conditions that are likely to hinder safe and efficient pf1rforma
                                                                                          nce of essential job functions.



Review Date: 08/25/2010
Judicial Security Division Reviewing Physician:


F. Rosenberg, DO, MPH




Merits Record ID: 2401560
                                                                                                                   Page 1 of 1
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.489 Page 50 of 106




                               EXHIBIT 6
       Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.490 Page 51 of 106

                                                 Judicial Security Division
I   LE Incumbent Name:
                                    AK4L              Medical Review Form
                                Gene Sugimoto Date of Birth:              Age: 63
                                                                                                               /lfl3/
                                                                                                           Gender: M
    SSN:                        XXX-XG-4799          LE Incumbent Court Security Officer
    Examining Facility: ,   ,
    Circuit 9       S / CA
    Report of Medical Examination:    Date: 4/29/2011            This review is based on
    Supplemental Medical Information: Date:                      Supplemental Medical Recei



    YOUR STATUS IS: Medically qualified

    Incumbent has no medical conditions that are likely to hinder safe and efficient performance of essential job functions.




    Review Date: 06/18/2011
    Judicial Security Division Reviewing Medical Officer:

    ~~11{-l}-
    L. Hutchinson, MD, MPH




    Merits Record ID: 2460818                                                                                          Page 1 of 1
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.491 Page 52 of 106




                               EXHIBIT 7
     Case 3:19-cv-00025-DMS-BLM
                              ) Document 32-3 Filed 11/01/19 PageID.492 Page 53 of 106
                                            Judicial Security Division
                                                  Medical Review Form

_E Incumbent Name:          Gene Sugimoto Date of Birth:       Age: 65                                 Gender: M
SSN:                        XXX-X64799    LE Incumbent Court Security Officer
Examining Facility: ,   ,
Circuit 9

Report of Medical Examination:    Date: 6/26/2013            This review is based on             FY: 2013
Supplemental Medical Information: Date: 11/21/2013           Supplemental Medical Received       Date: 01/17/2014



YOUR STATUS IS: Medically qualified

Incumbent has no medical conditions that are likely to hinder safe and efficient performance of essential job functions.




Review Date: 02/26/2014
Judicial Se,~1ll1ty=:iffl~®J eviewing Medical Officer:




Merits Record ID: 2584017                                                                                           Page 1 of 1
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.493 Page 54 of 106




                               EXHIBIT 8
                                                                                                   -WWW


Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.494 Page 55 of 106




   [II    INTER- CON
                                                                                                                                           1631 Prince. Street
                SecuritJ· S1stems, Inc.                                                                                        Ale:cand ria, Virginia 22314

                                                  FACSIMILE TRANSMITTAL SHEET

                        Melvin Roberts, Distric t Supervisor                          FROM:               Lisa V. Brown
   TO:

                        Inter-Con Security Systems, Inc.                              DATE:               12/1/2014
   COMPANY:

   FAX:                                                                               PAGE#:              1

                                                                                      PHONE:              571-384-7022
   PHONE:


                          Incumbent: Gene Sugimoto                                    FAX:                571-384-7021
   RE:

                       D For review                 □ Please comme nt                 □ Please reply                D Please recycle
   D Urgent
   NOTES/COMMENTS:
                                                                                Judicial Security Division, Judicia l
    Enclosed you will find the Medical Review receive d from the USMS
                                 and  cover letter.  Inter-C on has been  instruct ed to direct the CSO Incumbent/ Applicant
    Protective Services Branch
                                                                            Please  ensure that all responses are returned to
    to respond to the recommendations listed on the enclosed forms.
                                                      Brown.  Failure to respond    in a timely manner may result in
     Inter-Con Security Sys,tems, Inc., co Lisa  V.
     involuntary removal or disqual ificatio n from the CSO Program.
                                                                              fax memo along with the applicable USMS
     Please provide the above-c ited Incumbent with his/her copy of this
                                                                            SO   APPLICANT MUST SIGN THIS
     Medical Review Form in a sealed envelope. THE IN.CUMBENT/C
                                                  of this signed acknow  ledgem   ent to Inter-Con Security Systems, Inc.,
     DOCUMENT BELOW. Please fax a copy                                                                                .
     Attn: Lisa V. Brown - ASAP.
                                                                                V. BROWN ONLY. CONTACT WIT~
  . .NOTE: ,INSTR UCT THE INCUMBENT-TO RESPOND TO LISA                              IS PROHIBITED.                .
                                                                THIS  INQUI    RY
      .&.u.~ nITED ATES MARS ,a\LS SERICE FOR
                                                                                                                                    ,~-~- ~'' t
                                                                             DS/LCSO Signature                                              Date

                                                                    mailed to Inter-Con Security Systems, Inc.
   The follow-up requirements need to be completed and information
                                                                         FOH (Federal Occupational Health)
   Attn: Lisa V. Brown no later than Decem ber 31, 2014 so we can ensure
   receives it by January 30, 2015.


    If you have any questions or trouble reading this fax, please let
                                                                      me know.



    Thank you,


    Lisa V. Brown
    Contra ct Delive rable Specia list


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. II
Case 3:19-cv-00025-DMS-BLM
       IC SECURITY SYSTEMS,Document
                               INC.32-3 Filed 11/01/19 PageID.495 Page 56 of 106
  210 South De Lacey Ave, Suite 200                                 Phone: (626) 535-2200
  Pasadena, CA 91105



  Date: 12/1/2014


  Subject: MRF Deadline


  Dear CSO: Gene Sugimoto

  We have received notification from Federal Occupational Health (FOH) regarding your
  recent contract mandatory annual health screening. The results of the screening indicate
  the need for additional follow-up medical testing or information which must be provided
  by you to FOH if you wish to remain on the United States Marshals Service contract as a
  Court Security Officer.

  Failure to provide this information to FOH by the date listed below will cause Inter-Con
  Security Systems, Inc. to take administrative actions which could include your permanent
  removal from the aforementioned contract.

  Please contact your medical provider to address the required follow-up testing or
  provide the information necessary to satisfy the FOH inquiry no later than:


  Date of Required Action: January 30, 2015.



  Daniel Ryan  /{vu
  Vice Presiden~ations
  Inter-Con Security Systems, Inc.
                                              Judicia l Securi
         Case 3:19-cv-00025-DMS-BLM Document 32-3tyFiled
                                                    Divisio  n
                                                         11/01/19 PageID.496 Page 57 of 106
                                                   Medical Review Form
LE Incumbent Name:            Gene Sugimoto Date of Birth:             Age: 66                           Gender. M
SSN:                          XXX-X6-4799         LE Incumbent Court Security Officer
r   -nining Facility:
l- -Uit 9               ' '

Report of Medical Examination:    Date: 6/20/2014             This review is based on              FY: 2014
Supplemental Medical Information: Date:                       Supplemental Medical Received        Date:


YOUR STATUS IS: Medical determination deferred pending further documentation

Incumbent has medical findings which may hinder safe and efficient performance of essential
                                                                                                job functions. Please provide the
following detailed or diagnostic medical information. Per agency request, if further information
                                                                                                 is not provided, a determination
will be made based on available medical information. Send medical information to your_empl
                                                                                               oyer.
The written request below should be provided to the treating physician, or other applicable health
                                                                                                      care provider(s), such as an
audiologist. Failure to provide the requested information or the failure to demonstrate that the
                                                                                                  medical condition(s) in question
has been satisfactorily treated/resolved could result in medical disqualification. Individuals who
                                                                                                    are medically disqualified are not
allowed by the Marshals Service to serve as Court Security Officers. In addition to the medical
                                                                                                   information requested below, the
CSO applicant or incumbent and/or the treating physician should be encouraged to provide any
                                                                                                    additional written opinions or
comments and any other copied records that may be useful in reaching a determination of medical
                                                                                                       qualification.


1. Your lab results evidenced an elevated blood sugar of 131. Have your doctor provide
                                                                                       a copy of a repeat fasting
blood sugar (by venipuncture, not fingerstick) and a hemoglobin A1C and report the medical
                                                                                           significance of the results,
including any diagnosis ·and treatment.                         ·

2   Your recent lab results indicate a possible liver function abnormality (elevated AST and
                                                                                               ALT). Have your physician
     : a copy of repeat liver function testing and report on the etiology and medical significan
                                                                                                 ce of the findings.
3. The examinee has a history of obstructive sleep apnea (OSA). No prior studies have
                                                                                            been provided for review. Sleep
apnea is a significant medical condition since it may lead to daytime drowsiness, thereby
                                                                                             reducing attention,
concentration, and ability to respond quickly in critical situations. Have the evaluating/treating
                                                                                                   physician provide a
report concerning this condition that includes:

a) diagnosis, with initial AHi and severity (include copies of the initial Sleep Study report
                                                                                              and any subseque nt studies,
such as Split Night, CPAP Titration, or repeat PSG following surgical or other treatment to demonstr
                                                                                                       ate resolution );
b) recommended treatmen t (night-tim e devices, surgery, medicatio ns, etc.);
c) whether the examinee has been complian t with recommended treatment over the past year;
d) a copy of the initial and most recent 3 clinic notes related to the evaluation/maintenance
                                                                                              of this condition ; and
e) the most recent 3-6 month download ed CPAP complian ce data (if CPAP has been recomme
                                                                                                nded) or repeat PSG to
demonstrate resolution of this condition .




vlerits Record ID: 2641888                                                                                           Page 1 of 1
 Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.497 Page 58 of 106



Ig       INTER-CON   s«-s,.,~. ,.,_                                                                 1631 Prince Street
                                                                                            Alexandria, Virginia 2231-1
                                                                                                     571-38-1-7022 PH
                                                                                                   571-384-7021 FAX


To:     Melvin Roberts, District Supervisor

From: Lisa V. Brown, Contract Deliverable Specialist

Date:   December 1, 2014

RE:     Incumbent: Gene Sugimoto
        9th -Southern District of California

Enclosed is a confidential Medical Review Form (MRF) from the USMS Judicial Security Division concerning
the medical status for the above named CSO Incumbent. Please provide the envelope to the referenced CSO/CSO
Applicant and have him/her review the contents of the request carefully.

It is crucial that the CSO Incumbent submit the requested information: the information must be received in the
Virginia Office on or before December 31, 2014. Failure to do will result in Inter-Con Security Systems, Inc
issuance ofa 10-Day Notice to the CSO for Failure to Comply.

We have included instruction for the Incumbent/Applicant to return the MRF and the requested documents to you
in a confidential sealed envelope, with recommendation they keep a copy of their medical records for themselves.
You are prohibited from opening a sealed package or otherwise reviewing the medical information. Upon receipt
of the sealed envelope, immediately have the Incumbent/Applicant sign the enclosed fax cover sheet, confirming
receipt of the envelope from the USMS Judicial Security Division. Immediately FAX a copy of the cover sheet to
the Virginia Office of Inter-Con Security Systems, Inc. after this information is delivered to the CSO
Incumbent/Applicant so that it can be placed in the CSOs file folder. Please note failure to answer the enclosed
MRF in timely manner could result in a voluntary resignation.

The CSO Incumbent/Applicant must take the enclosed USMS Medical Review Form to the physician and ensure
that he/she reviews it before performing the required follow-up exam/test. This is necessary to ensure that the
physician performs ONLY the required medical assessments as outlined by the USMS. If the physician feels that
additional testing, not expressly referenced by the USMS, is required, the CSO Incumbent/Applicant must contact
the undersigned before any such additional work is performed so that Inter-Con Security Systems, Inc. can verify
with USMS whether such testing is required. If the CSO Incumbent/Applicant has additional testing performed
without prior approval, the CSO Incumbent/Applicant will be responsible for the cost of any non-approved
testing. CSO Incumbents/Applicants will not be reimbursed for cost associated with medical follow-ups.

NOTE: INSTRUCT THE INCUMBENT TO REPOND TO LISA V. BROWN IN THE VIRGINIA OFFICE ONLY.
CONTACT WITH THE UNITED STATES MARSHALS SERVICE FOR THIS INQUIRY IS PROHIBITED.



Thank you,


Lisa V. Brown
Contract Deliverable Specialist
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.498 Page 59 of 106




                                EXHIBIT 9
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.499 Page 60 of 106



      Good Day Dr. Spees,

      Attached to this note is a "Medical Review Form" sent to me by the U.S.
      Marshals Service, Judicial "Security Division, Medical Officer. They again
      want me to see you for further re-examination.

      Items #1 and #2·are pretty much the same as they were the last time we went
      through this. Please tell me how you want to proceed, shall we do another
      lab test and office visit or will my last lab and office visit suffice?

     Item #3 (a through e) is a bit more complicated. I was honest enough to
     indicate that in the past I was previously diagnosed with Sleep Apnea ( 15
     years ago), and now they raise the matter. Attached is a report from Dr.
     Stephen Lee back in May 2009 whom I saw as a part of my pre-employment
     package and, he addressed my condition, will I need to see him again? Is
     Dr. Lee still with Sharp?

     Lastly, my employer (Inter-con Security) wants me to complete all of
     this and have the documents on their desk in Virginia by December 31 st •
     I think this may not be adequate time to complete all of the exams and
     paperwork consequently; I may need a letter from you requesting
     additional time. Do you agree?

     Please contact me on my cell phone 858-218-5228 or email at
     gysugi@sbcglobal.net. My Sharp.com is no longer available and I did
     not opt to sign up in the "My Health" system.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.500 Page 61 of 106




                               EXHIBIT 10
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.501 Page 62 of 106




                         ~ Rees:-Stealy
                                • Medical Group


     From The Desk Of:
 Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.502 Page 63 of 106

                                                                    Rees-Stealy   ·
                                                                    Medical Group
                                                              iLetter
Name:SUGIMOTO,GENE                                     DOB: 06/14/1948
MRN#: 1800773                                          Gender: M

Note Owner: STEPHEN H. LEE M.D.
Specialty: Pulmonary Medicine
Date of Encounter: 05/08/2009

May 8, 2009


To: Judicial Security Division
Re: Gene Sugimoto, DOB 6/14/48


I saw Mr. Sugimoto in my clinic 5/8/09 for evaluation of obstructive sleep apnea (OSA) as part of a pre-employment
examination. He has a history ofOSA that was diagnosed over 10 years ago at an outside facility. I do not have details of this
study. At that time, he had problems with occasional excessive and bothersome daytime sleepiness. By his report, he was started
on CPAP therapy, but only used it for about two weeks as he could not tolerate it at all. He was then evaluated by an ENT
physician, but surgical treatment was not offered.

He subsequently made some lifestyle changes and lost about 20 pounds. Since then, he states that he has not had any problems
with bothersome excessive daytime sleepiness. He feels refreshed upon awakening from sleep in the morning. He is alert during
th~ day~ The Epworth Sleep Scale score tod~y was I.

He:denies :any problems with concentrating or focusing on tasks. No mood disorders or memory problems were reported.

In·summary, based on the above, I do not think a repeat sleep study is indicated at this time.

If you have any questions or concerns, I can be reached at my office, 858-939-6570.




Stephen II. Lee, MD
~onary and Critical Care Medicine
Sharp Rees-Stealy Medical Group



Electroni~ally signed by:STEPHEN H LEE M.D. May 8 2009 4:49PM PST Author




 ·· This.document is privileged and confidential, and is intended for those individuals personally involved in th~ care of
in~ividual patients who may be identifiable from this information. All other use or disclosure is strictly prohibited unless
specifically and legally authorized.

  Printed: 12/09/2014 9:16AM                   Printed from Touchworks                                I of I
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.503 Page 64 of 106




                               EXHIBIT 11
                                              Judicial security Division
         Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed
                                    Medical Review Form 11/01/19 PageID.504 Page 65 of 106

LE Incumbent Name:           Gene Sugimoto Date of Birth:       Age: 66                                  Gender: M
SSN:                         XXX-X6-4799   LE Incumbent Court Security Officer
E".,mining Facility: ,   ,
l    Jit 9

Report of Medical Examination:    Date: 612012014             This review is based on              FY: 2014
Supplemental Medical Information: Date: 12/9/2014             Supplemental Medical Received        Date: 12/22/2014



YOUR STATUS IS: Medical d·etermination deferred pending further documentation

Incumbent has medical findings which may hinder safe and efficient performance of essential job functions. Please provide the
following detailed or diagnostic medical information. Per agency request, if further information is not provided, a determination
will be made based on available medical information. Send medical information to your employer.

The written request below should be provided to the treating physician, or other applicable health care provider(s), such as an
wdiologist. Failure to provide the requested information or the failure to demonstrate that the medical condition(s) in question
ias been satisfactorily treated/resolved could result in medical disqualification. Individuals who are medically disqualified are not
3llowed by the Marshals Service to serve as Court Security Officers. In addition to the medical information requested below, the
:;so applicant or incumbent and/or the treating physician should be encouraged to provide any additional written opinions or
~omments and any other copied records that may be useful in reaching a determination of medical qualification.



I. All medical reports regarding the elevated fasting glucose and liver enzymes are acceptable. However, the following
>reviously requested item has not yet been received or requires additional documentation:

!. The examinee has a history of obstructive sleep apnea. Thank you for providing additional information regarding
hi~_ condition. Dr. Lee ~eports evaluation of OSA in 2009 (initial sleep study not available for review, no initial AHi
,      1ed)and a recommendation for CPAP. The examinee was unable to tolerate CPAP after about 2 weeks of therapy.
ie .. as since lost 20 lbs and believes that the OSA has resolved. However, sleep apnea is a significant medical
:ondition since it may lead to daytime drowsiness, thereby reducing attention, concentration, and ability to respond
1uickly in critical situations. Therefore, objective evidence of resolution of this condition is required prior to medical
:learance. Please provide a copy of a repeat, current, sleep study demonstrating resolution of this condition.



~eview Date: 01/30/2015
udicial Sec-.Hrm1--Bhrisiurr°Rero'iefWing Medical Officer:


,.




erits Record ID: 2641888                                                                                             Page 1 of 1
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.505 Page 66 of 106




                               EXHIBIT 12
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.506 Page 67 of 106




      ID            INTER-CON
                                                                                                                               1631 Prince Street
                             Security Systems, Inc.                                                                                        22314
                                                                                                                    .~ ra,:.:r.,tfria, Virginia

                                                              FACSIMILE TRANSMITTAL SHEET
                                                                                    FROM:          Lisa V. Brown
      TO:                                 Melvin Roberts, District Supervisor
                                                                                    D.t\,TE:       2/23/2015
      COMPANY:                            Inter-Con Security Systems, Inc.

                                                                                    PAGE#:         1
      FAX:

                                                                                    PHONE:         571-384-7022
       PHONE:

                                                                                    FAX:           571-384-7021
       RE:                                Incumbent: Gene Sugimoto

                                                              D Pleas e comm ent     □   Pleas e reply      □   Pleas e recycle
       D Urge nt                          □     For revie w
       NOTES/COMMENTS:
                                                                                                                  Judicial
                                                            ed from the USMS Judicial Security Division,
       Enclosed you ·wm find the Medical Review receiv                             cted  to  direc t the CSO Incum   bent/Applicant
                                                             Con has been instru
       Protective Services Branch and cover letter. Inter-                                                    nses are return ed to
                                                           enclosed forms. Please ensure that all respo
       to respo nd to the recommendations listed on the                                   a timel y  mann er may  resul t in
                                                              n. Failu re to respo nd in
       Inter-Con Security Sys~ems, Inc., co Lisa V. Brow                am.
                                                           CSO Progr
       involuntary removal or· disqualification from the
                                                                                                                    cable USMS
                                                         his/her copy of this fax memo along with the appli
       Please provide the abov e-cite d Incumbent with                                                    T SIGN   THIS
                                                             INCUMBENT/CSO APPLICANT MUS
       Medical Review Form in a seale d envelope. THE                                                                    ms, Inc.,
                                           a copy  of this  signe d acknowledgement to Inter- Con SP-r,urity Syste
       DOCUMENT BELOW. Please fax
        Attn: Lisa V. Brown - ASAP.
                                                                                                                         T WIT H
                                                                 OND TO LISA V. BROWN ONLY. CONTAC
        NOTE: INSTRUCT THE INCUMBENT TO RESP
        T     UNIT        TAT ES      RSHALS SERI CE FOR THIS INQOIRY IS                                 PROBIBITIIID..3}i""'~

                                                                                DS/LCSO Signature                        f         ate
                                                                                                              ms, Inc.
                                                        and information mailed to Inter-Con Security Syste
       The follow-up requirements need to be completed so we can ensure FOH (Federal Occ ..l:'<i.:.., ..~ Health) receives
       Attn: Lisa V. Brown no later than Marc h 25, 2015
       it by Apri l 24, 2015 .

                                                          fax, please let me know.
        If you have any questions or trouble reading this


        Thank you,


        Lisa V. Brown
        Contract Deliverable Specialist




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                                      _    ..   : ;.
  II  IC SECURITY SYSTEMS,
Case 3:19-cv-00025-DMS-BLM     INC.32-3 Filed 11/01/19 PageID.507 Page 68 of 106
                           Document
  210 South De Lacey Ave, Suite 200                                 Phone: (626) 535-2200
  Pasadena, CA 91105



  Date: 2/23/2015


  Subject: MRF Deadline


  Dear CSO: Gene Sugimoto

  We have received notification from Federal Occupational Health (FOH) regarding your
  recent contract mandatory annual health screening. The results of the screening indicate
  the need for additional follow-up medical testing or information which must be provided
  by you to FOH if you wish to remain on the United States Marshals Service contract as a
  Court Security Officer.

  Failure to provide this information to FOH by the date listed below will cause Inter-Con
  Security Systems, Inc. to take administrative actions which could include your permanent
  removal from the aforementioned contract.

  Please contact your medical provider to address the required follow-up testing or
  provide the information necessary to satisfy the FOH inquiry no later than:


  Date of Required Action: April 24, 2015.



  Danie!Ryan/LVB     g
  Vice President for Operations
  Inter-Con Security Systems, Inc.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.508 Page 69 of 106




                               EXHIBIT 13
           ...   .
         Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.509 Page 70 of 106




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Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.510 Page 71 of 106




                               EXHIBIT 14
..   Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.511 Page 72 of 106



         ■ INTER- CON
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                SE CU

                                                   THO RIZA TION FOR M
                 USM S MED ICAL EXP ENS E PRE -AU
                                  ical Foll ow- Up  Req ues t from USM S
               For Add ition al Med



                                                                                     Clock Number
         CSO Last Name, First Name, Ml. (Please print)



         CIRCUIT and DISTRICT



          Return Fax Number

                                                                   within 10 business days of your request,
          CSO: If you have not received your pre-authorization nd
                                                                   2  Circuit: Ty Castellano (571-384-7026)
          please call the Admin Support person for your circuit:
                                                               Inter-Con   Security Systems, Inc. will not be
          or 9 Circuit: Ofelia Villarreal (626-535-2235).
              th
                                                                         All   medical expenses require pre-
          responsible for any charges not previously authorized.
                                                                     proce   dures  , etc ... This form does not
          authorization in writing, to include office visits, tests,                    ms, Inc. for approved
                                                                      Secur   ity  Syste
          authorize the medical clinic to directly bill Inter-Con                   emplo   yee and reimbursed
                                                                  paid   by    the
          services. Approved medical follow-up costs are                                     ment Form and your
                                                                   Expen  se    Reim  burse
          according to proper procedure, including the Medical
          receipt or other proof of payment.
                                                              of test, procedure, specialist's office visit and
          Description of Expenses: Must include specific name
                                                               0.)
          cost. (For example, Cardiologist, stress test, $350.0




                                                                                            Total Cost: $

                                                               11:
           CSO: Upon completion of this form, fax to 626-685-91
                                                                     S stems, Inc.
           This section to be com
                                                                     mount Autho
           Date Re uest Received.
           Date Authorized: 11ffi .                                  ate Authoriz
                                                                     uthorization




                                                               85-9111 or send to: Inter-Con Security Systems,
           Please fax completed form and your receipts to 626-6
           Inc., 210 S. DeLacey Avenue, Pasadena, CA 91105
                                                                                                            Page 1 of 1
           IC-USMS Med1
           Date: 12/2/2013                                                    OPPORTUNITY EMPLOYER.
                                INTER-CON SECUR ITY SYSTE MS, INC IS AN EQUAL
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.512 Page 73 of 106




                               EXHIBIT 15
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.513 Page 74 of 106




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Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.514 Page 75 of 106




                               EXHIBIT 16
      Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.515 Page 76 of 106

  Melvin Roberts

   ·rom:                            Ofelia Villarreal
  Sent:                             Tuesday, March 24, 2015 10:15 AM
  To:                               Melvin Roberts
  Subject:                          RE: Medical Pre Authorization



  I have forwarded to Dan for approval since Bret is traveling. I did advise that this had been pending approval for two
  weeks now. I'll advise if and once I get it back.

  Thank you,
  Ofelia Villarreal

  From: Melvin Roberts
  Sent: Tuesday, March 24, 2015 9:17 AM
  To: Ofelia Villarreal
  Subject: FW: Medical Pre Authorization

  Good morning. Roughly how long does an approval or a denial take?


  From: Melvin Roberts
  Sent: Monday, March 16, 2015 9:46 AM
   To: Bret Lockhart
-- Subject: FW: Medical Pre Authorization

  Hello Bret, do authorizations take a few days?


  From: Melvin Roberts
  Sent: Wednesday, March 11, 2015 11:49 AM
  To: Bret Lockhart
  Subject: Medical Pre Authorization




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I
         Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.516 Page 77 of 106

    Melvin Roberts

    rrom:                                  Ofelia Villarreal
    Sent:                                  Tuesday, March 31, 2015 10:12 AM
    To:                                    Melvin Roberts
    Subject:                               Medical Pre-Auth. for Gene Sugimoto
    Attachments:                           CCE03112015_0001.pdf


    Hi Melvin, here you go. Got it back this morning. the attachment is not signed but we can attached the
    email below where it indicates by Dan Ryan that it has been approved.
    Once this is complete, please provide an expense report along with supporting documents to submit
    to accounts payable for reimbursement.



    Thank you,
    Ofelia Villarreal

    From: Dan Ryan
    Sent: Tuesday, March 31, 2015 10:08 AM
    To: Bret Lockhart; Ofelia Villarreal
    Subject: FW: Medical Pre-Auth. for Gene Sugimoto

    \pproved

    From: Ofelia Villarreal
    Sent: Tuesday, March 31, 2015 10:20 AM
    To: Dan Ryan
    Cc: Bret Lockhart
    Subject: RE: Medical Pre-Auth. for Gene Sugimoto

    Haven't heard back yet in regards to the attached pre-auth for Sugimoto. Please advise if approved.

    Thank you,
    Ofelia Villarreal

    From: Ofelia Villarreal
    Sent: Tuesday, March 24, 2015 9:19 AM
    To: Dan Ryan
    Cc: Bret Lockhart
    Subject: Medical Pre-Auth. for Gene Sugimoto

    Please advise if the attached is approved. It is for Sugimoto, Gene for a total of $980.00. That this   •
    has been pending approval for two weeks now and Mr. Gene needs to complete his MRF.




    Ofelia Villarreal
    USMS 9th Circuit Administrative Coordinator

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      Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.517 Page 78 of 106

Melvin Roberts

From:                             Ofelia Villarreal
Sent:                             Wednesday, April 01, 2015 10:40 AM
To:                               Melvin Roberts
Subject:                          RE: Medical Pre-Auth. for Gene Sugimoto



I don't blame him. Just playing it safe. Take care.

Thank you,
Ofelia Villarreal

From: Melvin Roberts
Sent: Wednesday, April 01, 2015 10:39 AM
To: Ofelia Villarreal
Subject: RE: Medical Pre-Auth. for Gene Sugimoto

Thank you. Sugimoto was a little concerned about booking his appointment on an e-mail. Take care


From: Ofelia Villarreal
Sent: Wednesday, April 01, 2015 10:37 AM
To: Melvin Roberts
Subject: RE: Medical Pre-Auth. for Gene Sugimoto

V'es. that is correct.

Thank you,
Ofelia Villarreal

From: Melvin Roberts
Sent: Wednesday, April 01, 2015 10:36 AM
To: Ofelia Villarreal
Subject: RE: Medical Pre-Auth. for Gene Sugimoto

Hi Ofelia. Based on Dan's e-maii approval it is ok for Sug:moto to book his appointment?


From: Ofelia Villarreal
Sent: Tuesday, March 31, 2015 10: 12 AM
To: Melvin Roberts
Subject: Medical Pre-Auth. for Gene Sugimoto

Hi Melvin, here you go. Got it back this morning. the attachment is not signed but we can attached the
email below where it indicates by Dan Ryan that it has been approved.
Once this is complete, please provide an expense report along with supporting documents to submit
to accounts payable for reimbursement.



Thank you,

                                                           1
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.518 Page 79 of 106




                              EXHIBIT 17
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.519 Page 80 of 106

   0~
     Memorandum                                                           April6,20 !5   f~
     To:     Melvin Roberts, District Supervisor, Southern District of California

     From: Gene J. Sugimoto, Court Security Officer (CSO), Southern District of California

     Re:     Request to Extend the Medical Review Due Date to June 29, 2015



     Attached is a letter to me from Mr. Dan Ryan at IC Security Systems, Inc. advising me
     that the Office of the Federal Occupational Health requires that I submit a medical
     follow-up exam. Mr. Ryan's letter instructs me to complete and submit the necessary
     documents of the required action by April 24, 2015.

     I have been in contact with my medical provider (Sharp Rees-Stealy Medical Centers), to
     comply with the required action which is a "Sleep Study" relative to a sleep apnea
     diagnosis. Sharp has advised me that I must first report for an initial consultation with a
     Pulmonary Specialist after which a Sleep Study will be scheduled. Subsequent to the
     Sleep Study, a second consultation with the specialist will be required to review the
     results of the study and prescribe any treatment if necessary. Sharp has advised that the
     earliest initial consultation can be on May 28, 2015. Since there will be two more
     appointments after this initial consultation, I request that the "Due Date" to complete this
     action be extended to June 29, 2015.

     Your assistance in this matter is greatly appreciated.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.520 Page 81 of 106




                               EXHIBIT 18
1111                                                             111.q.,.::,.1,   u.,-.1..U&-'-u,au._.ra.a.a.,v.wuu• 1a.,u1 .1aWLui ,}J'QJ.Ua.,1-.:,u._,.u.,.1a.1u-a...17VU1 ..

        Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.521 Page 82 of 106

       Subject:   Re: Medical Re evals

        From:     Robert Lopez (123bolo2595@gmail.com)

       To:        MCook6@san.rr.com;

                  harem4@cox.net; wday619@aol.com; rwdonalds@yahoo.com; ckodadek@sbcglobal.net;
                  dhreed1081@yahoo.com; deron.g.smith@gmail.com; Drhodes279@gmail.com; gmahaff@gmail.com:
                  gjsharpe9415@cox.net; gysugi@sbcglobal.net; jcook94 7@hotmail.com; jrredsox17@yahoo.com;
                  jmulvey@san.rr.com; jjvretired@yahoo.com; yackydo 123@gmail.com; Johnlemaj@aol.com;
                  tatcmarcia1175@yahoo.com; matt.grace@att.net; sdmel44@att.net; rborg40@cox.net; lookslikdi@cox.net;
                  sharkrim3@cox.net; gatorrace286@yahoo.com; cso.dawson@gmail.com; tpeltekian@hotmail..com;
                  wcruzen@gmail.com; ycollins@cox.net; bradbickel@cox.net; mrmrscota@yahoo.com; sedonia@gmail.com;
        Cc:       sonnybear49@yahoo.com; Nancw48@gmail.com; gfurby@cox.net; acampa@cox.net;
                  sullivang123@yahoo.com; brady018@yahoo.com; 1chrisvon@cox.net; novakpv@netscape.net;
                  mac-bunday@cox.net; hodgesfive@sbcglobal.net; gckathan@gmail.com; linneydan@gmail.com;
                  flessig@hotmail.com; rgellatly@roadrunner.com; coloncalle8@yahoo.com; mgreina@cox.net;
                  melopolo 123@yahoo.ca; thebadgepi@cox.net; aka7@aol.com; pistolpackinmama7@hotmail.com;
                  sgtnovak@sbcglobal.net; havasu26@ymail.com; kab@verizon.net; evjoness@hotmail.com;
                  gem21 girl@hotmail.com; prgarcia123@gmail.com; sevennorasixfive@live.com; skyman4@cox.net;
                  olimex1@hotmail.com; steve.mcdonald@rocketmail.com;

        Date:     Tuesday, May 12, 2015 8:02 PM




       Today I received a MRF for audio .... This is first time in 10 yrs that I've got one for audio!!!!

       Sent from my iPhone

       > On May 12, 2015, at 7:57 PM, Mark Cook <MCook6@san.rr.com> wrote:
       >
       > To all concerned,
       >
       > It was brought to my attention that in the last two days IO people received medical re eval forms. I
       understand that there are privacy issues with these but if possible I would like to know what the reasons
       are for the re evaluations. I was told last week that the Oregon office received 6 re evals. Yesterday Las
       Vegas told me that several of their people received the forms. It seems like most of the requested tests are
       for the treadmill. And, it seems like the USMS is now targeting CSOs over the age of 60. This might be a
       way to thin the herd but I'm not actually sure of their reasons for this. I did hear a rumor that they didn't
       want people like Eddie Hughes or Rich Borzych in our group. For the newer people they were great guys
       but were pretty old and I would guess the USMS felt they couldn't do well in a fight. The union is looking
       at the nationwide blitz on our CSO program and they would like to know the reasons for the re eval
       requests.
       >
       > For those who did receive the forms please remember what they did to Gene and Bob. If you choose to
       jump through their hoops please keep a timeline of all you do. This could be a great help if a grievance is
       needed. Watch their dates and act accordingly. They seems to have no trouble with dropping someone
       from the ranks even when we are so shorthanded and when it is not the fault of the CSO. Their timeframe
       for getting an appointment with a medical specialist is ridiculous and it seems that they are now reluctant
       to grant extensions. Please be careful.
       >


of2                                                                                                                                               5/12/2015 11:00 p~
JlJl                                             1..11.l}'i:),/ I u.,-JJ.Jf;-',ll.,lfi1.ll,JOJ. AJU.\,,Ull• 1&.,U/ .lOw.&,,.lJ.! ,}'a.&. ....... .l ~t3U\,,tJL.,.4C:U.&,&.   Q-1./VU.,., ••



        Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.522 Page 83 of 106

       > Good luck to all,
       >
       >Mark




:of2                                                                                                                                                  5/12/2015 11:00 Pt
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.523 Page 84 of 106




                              EXHIBIT 19
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.524 Page 85 of 106

                          U.S. EQtAL EMPLOYMENT OPPOR1TNrl'Y COM)U~SION
                                       Washin~toa Field Office
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                                                                             Charge Number: 488<2m 6-000&2


      Ch.;1rg:ng Party:                                 ( ,cm; Sugimoto
                                                        11790 La Tortola
                                                        Sun Di(...1;ll. CA 92 L:!9

      Rt::5:poncicnt:                                   !mcr··Con Security Systems inc.
                                                        210 South De Lacey Ave
                                                        Pa.-.a<lena, CA 9 l ! 05




      Under the authority vested in me by the EquaJ Employmt;.'Til Opportunity (\munissior1 r·tne
      Commission" or the- f£(X'-}, i k,w: t~ following detem1ination as to the in<.-rit.'> of the ab(rvc
      cited charge filed under the A.mcricans with Disabilities Act of !990, as amended ("ADA'').




      Char<~int: P;1rty a]kges that Rcs:pondcm <lis:.:riminatcd against him due to ms disability hy
      su~jecting him to mmc<xssar:v riionnJs medi.;;.al testing     U.S. Ma.Nihru Scf\-ice .mu:.i;,r federal
      Oceupatiomd Health. and discharging him due w hi:-; disabiii;:•. in violation of the ADA.

      R..:spondcn1 slatt--s. Charging Party w-.i.s subjccn:<l the mc<lkai t~sting b~~d on I.he tLS. Marshal
      &..·rvicc direction. o.nd that the Charging Pany ·was rcmovc-d from ms jL1h vvorking as a Cnm1
      Security Officer after failing to complete the- tests in a timely manner. Respondent JiJ not ohject
      to the U.S. ~v1arshai Scrvic~ direction that the Charging Party be removed from his j<)b working as
      a Court Security Oflkc,r. nor did Respotv.lent provide th-e C.S. Marshal Service with supplcml.tntal
      medical infor:ri..atim1 \\ hich would have -.-stablishcd that Charging Party \t,,·as medically qualifii;;d to
      work. The invcs,tigation finds Respondent sin1ilarly disa.:imrged or placed on unpaid leave due to
      their disabilities a class of Court Security Offo,:crs nationwide \\<M were qualified to do the j,•h
      with or withHut .ac~o;nmooation from at icast 2013 to prei,t..'Tlt.

      Basc<l on r.he fon!'gnini, I !ind there is re:.isonablc cause to beHeve that Respondent discriminat,-d
      again.~1 Ch.lrging Party in violation of the ADA when il subjected him to an urmeccssary medical
      e:,;1mi11al1{,n .and discharged him. even though he could perform the e~ntiai functions of 1.ht; _i,Jb
      ;,vith or withou~ ~c:.cun1mol.!atimt




                                                                                                                            PLT000210
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.525 Page 86 of 106




      Upon flnding re,1.,sonabic cutt~ th,it unlm.vfui employment practices have O'-~Cu:trc<l, tht:
      Commis::iion "!tempts to dirninatc the aUcged t.mlawfu! practices by lnfomwl meuiods of
      c<.m~iliation. Conciliation L-, RcsponJe11Cs opportunity to voluntarily remedy the W1lav,fal
      employment pr..K:lict."!i found to have occurred. Ultimately. any conciliation agreement mu~t be
      accep1abk to the Commi~si<>n. The confidentiality provi!>ions of ~tions 706 and 709 9fTltk VIL
      incorporated into the ADA through section I 07 .md Comrnission Rti;mations. apply to infonnation
      obtained during conciliation discussions.

      If Responc:knt fails to engage in conciliation. or if the Commission determines. in its :.ole
      di:-:crction. tluu concihation ha.i; failed. the Director wm inform thi:: parties and advise them of the
      court enforcement alternatives available to aggrieved persons and the Commiss.fon. A Commission
      reprt:~tt:.H.iv~ wiU contact each party in the near future to begin conciliation discussion

      '{ou ill'e reminded 1ha1 Federal hn.v prohibits re1s1iatiori ag;liast persons who h:rvc exercised their
      right to inquire or complain about matters th1..j bdievc rnay violate Utt: ta\-.,. Discrimi1ta1ion against
      persons who have cooperated :n Commission investigations is also prohibited, Titcsc prottt:tions
      apply regardless of the Commission's determination on the m~dts of the charge.



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             M~V ? 5
             ;   r""''    2018                             ~f>tef_u
                                                              \find:y E. Weinstein
                                                              Acting Director




                                                                                                       PLT000211
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.526 Page 87 of 106




                              EXHIBIT 20
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.527 Page 88 of 106



       mlLW ER-~
       Usscu RTI




                                   Notification of Termination




              '
     Name: Gene Sugimoto                                         Employee No. 0100133

     Termination Date: 4/27/2015

     Type of Termination: Involuntary

     I have my final paycheck, received the Notice to Employee As to Chang
                                                                           e in Relationship,
     Notice to Terminating Employee (HIPP), and California's Programs
                                                                       for the Unemployed.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.528 Page 89 of 106




                              EXHIBIT 21
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.529 Page 90 of 106




       Memorandum                                                            April 20, 2015




       To:        Melvin Roberts, District Supervisor, Southern District of California
                  Inter-Con Security, U.S. Marshal's Service and the Office of Federal
                  Occupational Health

       From: Gene J. Sugimoto, Court Security Officer (CSO), Southern District of California

       Re:        Denial of Request to Extend the Medical Review Due Date to June 29. 2015



       On April 17. 2015 I was advised by District Supervisor Mel Roberts that my request for
       extension has been denied because I have "had it for a while". I do not understand that
       reason and thus I am responding with this chronoJogy to illustrate that I have complied in
       a timely manner with all actions requested and that I have not "had it for a while''!

             1.      March 2, 2015: I received notification of the Medical Review even though my
                     personal physician Dr. David Spees and his colleague a Pulmonary Specialist,
                     Dr. Lee both addressed this issue back in December 2014, to which 1-C,
                     USMS nor the FOB ever acknowledged even the receipt or comment of that
                     report.
             2.      During the week of March 2, I contacted Dr. Spees and apprised him this
                     circumstance.
             3.      March 9: I provided Dr. Spees with the documentation of the Medical Review
                     requiring a Sleep Study.
             4.      March 11: I was notified by Dr. Spees' office that the Sleep Study would cost
                     a minimum $980.00, barring any further consultations or follow-up
                     examinations. They also made a referral for me to the Pulmonary
                     Department.
             5.      March 11: I made a request to Inter-Con Security Systems through District
                     Supervisor Roberts requesting approval to make a minimum $980.00 "out-of.
                     pocket" medical expense for future reimbursement.
             6.      March 12: I was contacted by the Sharp Rees-Stealy Pulmonary Dept. to
                     schedule the necessary appointrnent(s). I advised them that I was awaiting
                     approval from my employer/Inter-Con to go forward with the appointment(s)
                     and incur the expenses. The Pulmonary Dept. acknowledged and advised that
                     they would wait further contact from me.
             7.      April 1, 2015: I received approval to proceed with the appointment(s) and
                     incur the expenses. It should be noted that this was a delay of 3 weeks and
                     was beyond my control.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.530 Page 91 of 106


          8.      April 2: I contacted the Pulmonary Dept. to make the appointment(s). They
                 advised me that I had taken too long, (a result of waiting 3 weeks). and they
                  had removed me from their pending list. They further advised that I must
                  again have Dr. Spees make another referral. I subsequently contacted Dr.
                  Spees' office requesting another referral and explained what had happened.
          9.      April 3: Dr. Spees' office contacted me and advised that the 2 nd referral had
                 been made to the Pulmonary Dept.
          10.    April 3: I contacted the Pulmonary Dept to make my appointment. I was
                 advised that due to the unavailability of Dr. Lee and scheduling constraints,
                 the "earliest possible date for the 'initial consultation!< is May 28, 2015"'. I
                 was further advised that subsequent to the "initial consultation that the sleep
                 study and any other appointments if necessary would be made".
          11.    April 6: Foreseeing that this Medical Review process can not be completed by
                 the required due date of April 24, 2015, I provided a memorandum to District
                 Supervisor Roberts requesting an extension of the due date to June 29, 2015,
                 anticipating that this new date may be adequate time to complete the action.

      It should be noted that I have complied and completed all action. previous and current, as
      required and in a timely manner. The scheduling of appointments and availability or
      unavailability of the Doctor at Sharp Rees-Stealy Medical Centers is beyond the control
      of me, Inter-Con, the USMS and the FOB. To deny my request for an extension to
      complete the Medical Review is unfair and unreasonable!

      Your reconsideration in this matter is greatly appreciated.
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.531 Page 92 of 106




                              EXHIBIT 22
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.532 Page 93 of 106

                                                                   Rees-Ste aly· . -
                                                                   Medical Group
                                                        Progress Note
Name: SUGIMOTO, GENE                                  DOB: 06/14/1948
MRN#: 1800773                                         Gender: M

Note Owner: STEPHEN H. LEE M.D.
Specialty: Pulmonary Medicine
Date of Encounter: 05/05/2015

Patient
GENE SUGIMOTO              DOB: Jun 14 1948         Gender: M
SHC#: 102383829

Provider: STEPHEN bEE
DOV: 05/05/2015.
Chief Complaint
• Sleep apnea evaluation
HPI
LAST SEEN: May 8, 2009
I previously saw Mr. Sugimoto in May 2009 for evaluation of sleep apnea. At that time, the patient stated that he had been
diagnosed with sleep apnea more than 10 years prior to his visit with me. He reported that he had tried CPAP for a couple weeks,
but that he could not tolerate it whatsoever. When I saw him for evaluation back then, I did not think a repeat sleep study was
indicated based on the symptom history reported at that time. He is now back here for reevaluation. It is a complicated story, but
the patient states that he was asked by his employer to submit documentation about his sleep apnea. Due to various issues,
including the time it took to get a clinic appointment with me, he was not able to meet the deadline set by his employer to submit
paperwork. He was then tenninated from his job as a court security officer. He is now in the process of trying to appeal this.

The patient presented a copy ofa "Medical Review Fonn" from the "Judicial Security Division" requesting information about the
diagnosis, initial AHi, and severity of his sleep apnea. Is also requesting information about the recommended treatment, whether
he has been compliant with therapy, and compliance information.

The patient's weight is I 5 pounds less than it was when I last saw him in May 2009. He snores, but his wife reports that his
snoring is less than it was before. There have been no reported witnessed apneas by his wife. He does not wake up gasping or
choking for air in the middle the night. Overall, he feels like his sleep quality is good. When he wakes up in the morning, he is
"ready to go." He denies any problems whatsoever with drowsiness during the day. He denies any work or social impairments
because of sleepiness. He normally goes to sleep between 10:30-11 :30 PM and gets up for the day between 7-7:30 AM. He does
not drink alcohol except on rare occasions. He does not take any sleeping pills. He does not wake up with morning headaches. He
denies any problems with his memory or concentration. Epworth Sleep Scale score 3-4.
Current Meds
Multivitamins TABS;TAKE 1 TABLET DAILY.; RPT
Aspirin 81 MG Oral Tablet;; RPT
Fish Oil CAPS;TAKE 2 CAPSULE DAILY; RPT
Accu-Chek Multiclix Lancets Miscellaneous;check once in am, ifbg> 126, recheck in pm; Rx
Accu-Chek Compact Test Drum In Vitro Strip;Test fasting in the am, if blood glucose is greater than 126mg/dl test in pm or as
directed.; Rx
Accu~Chek Compact Plus Care KIT;check fasting blood sugar in the morning, if> 126, retest before dinner.; Rx
Accu-Chek Multiclix Lancet Dev KIT;test fasting in am, if greater than 126, test again in evening; Rx
Losartan Potassium-HCT Z 50-12.5 MG Oral Tablet;TAKE 1 TABLET DAILY for blood pressure and kidneys; Rx


   This document is privileged and confidential, and is intended for those individuals personally involved in the care of
individual patients who may be identifiable from this information. All other use or disclosure is strictly prohibited unless
specifically and legally authorized.

  Printed: 05 105/2015 3:42PM                 Printed from Touchworks                                   1 of3
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.533 Page 94 of 106

                                                                   Rees-Stealy -
                                                                   Medical Group
Patient: SUGIMOTO, GENE
MRN: 1800773

Date of Encounter: 05/05/2015




Lisinopril-Hydrochlorothiazide 20-12.5 MG Oral Tablet;TAKE 2 TABLETS DAILY FOR BLOOD PRESSURE; Rx
Atorvastatin Calcium 20 MG Oral Tablet;TAKE I TABLET DAILY for cholesterol; Rx
Verapamil HCl ER 300 MG Oral Capsule Extended Release 24 Hour;TAKE ONE CAPSULE BY MOUTH EVERY DAY FOR
BLOOD PRESSURE; Rx
Allopurinol 300 MG Oral Tablet;TAKE l TABLET DAILY to prevent gout.; Rx.
Allergies
No Known Drug Allergy.
Med/Allergy Rec:
Meds and allergies reconciled, including those medications given at discharge where applicable·. The patient's medication· list has
been updated accordingly.
ROS
+ Snorer, refreshed upon awakening
- Witnessed or reported apneas, fatigue, daytime drowsiness, memory or concentration problems, morning headaches.
Vital Signs
Recorded by HERNANDEZ,MARIBEL on 05 May 2015 01 :59 PM
BP:122/69,
HR: 8 I b/min,
Weight: 226 lb ,
BMI Calculated: 31.52 ,·
BSA Calculated: 2.22 ;
02 Sat: 94 (%SpO2), RA.
Neck circumference I 6 inches.
Physical Exam
GEN: pleasant and comfortable; HEENT: + facial hair, Mallampati 2, tonsils 2+ bilaterally, OP clear, sclerae anicteric, no
cervical or supraclavicular nodes palpated; CHEST: CTAB without adventitious sounds; CV: RRR, normal SIS2, no murmur;
ABD: Not examined; MSK: no clubbing or edema; SKIN: no obvious rashes seen; NEURO: Alert and appropriate, normal gait.
Assessment
Mr. Sugimoto has a history of having been diagnosed with sleep apnea in the distant past (another provider). He did not tolerate
CPAP therapy. When I saw him in May 2009, I did not think that there was any indication to proceed with another sleep study.
Based on my evaluation today, I still do not think that there is any indication to proceed with a sleep study. Although he snores,
he has not been told that he stops breathing at night_ He has no other symptoms that are compatible with sleep apnea such as poor
quality sleep, unrefreshing sleep, or daytime drowsiness. In my medical opinion, there is no need to proceed with a sleep study at
this time.

It is not clear from the "Medical Review Form" provided by his employer whether they are asking me to have the patient perform
an overnight sleep study whether I think he needs one or not. Even ifhe was to proceed with a sleep study, there is no way I
would be able to provide the other information that they are requesting such as the patient's compliance with and efficacy of
therapy within the expected time frame (by the end of this month). At best, I could probably have the sleep study done within the
next couple weeks, if it is absolutely necessary.
Plan

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individual patients who may be identifiable from this information. All other use or disclosure is strictly prohibited unless
specifically and legally authorized.

  Printed: 05/05/2015 3:42PM                  Printed from Touchworks                                    2 of3
  Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.534 Page 95 of 106

                                                                    Rees-Stealy· ·
                                                               ~    Medical Group
Patient: SUGIMOTO, GENE
MRN: 1800773

Date of Encounter: 05/05/2015




A copy of this consultation note will be mailed to the patient who will then forward it to his employer. If a sleep study is being
required by the employer, the patient will let me know.
Signature
Electronically signed by: STEPHEN H LEE M.D.; 05/05/2015 3:42 PM PST; Author.




                        ,_  ....,
                        --.nH.i....M.D.
                        2129He1111C..DIMI
                        SenDlego, CA 92123
                        (858)939-6570




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individual patients who may be identifiable from this information. All other use or disclosure is strictly prohibited unless
specifically and legally authorized.

  Printed: 05/05/2015 3:42PM                   Printed from Touchworks                                    3 of3
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.535 Page 96 of 106




                              EXHIBIT 23
      Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.536 Page 97 of 106
EEOC FOIIII 5 (11/091

                        CHARGE OF DISCRIMINATION                                                       Charge Presented To:               Agency(ies) Charge No(s):
             This form Is affeded by the Privacy Act of 1974 See enclosed Privacy Ad
                     Statement and other information before completing this form.                         □     FEPA
                                                                                                          [Kl   EEOC                         488-2016-00082
                                          California Department Of Fair Employment & Housing                                                               and EEOC
                                                                       Stale or local Agency, if any
Name (indicate Mr. Ms.,   Mrs.)                                                                                  Home Phone (Incl. Area Code)            Date of Birth
Mr. Gene Sugimoto                                                                                                   (858) 218-5228                     06-14-1948
Street Address                                                                City, State and ZIP Code
12790 La Tortola, San Diego, CA 92129

Named Is the Employer, Labor OrganiZation, Employment Agency, Apprenticeship Committee, or State or Local Govemment Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                          No. Employnt Membefl  Phone No. (Include Area Code)
INTER-CON SECURITY SYSTEMS INC                                                                                    500 or More                   (626) 535-2200
Street Address                                                                City, State and ZIP Code
210 S. De Lacey Ave., Pasadena, CA 91105

Name                                                                                                             No. Empl0yee1, Members     Phone No   (lncludt Area Codt)


Street Address                                                                City, State and ZIP Code



DISCRIMINATION BASED ON (Check app,oprialt box(es) J                                                                     DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                               Earliest              Latest
  □         RACE        □    COLOR         Osex               □      RELIGION       □ NATIONAL ORIGIN                       11-18-2014                 04-27-2015
        □        RETALIATION □ AGE                 [fil DISABILITY            □ GENETIC INFORMATION
                 □ OTHER (Specify)                                                                    □ CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed. attach txtra sheet(s)}
     l.   I was hired on or about November 2, 2013 as a Courts Security Officer when Inter-Con Security Systems Inc. took over the
          US Marshall's contract from Akal, my previous employer. On or about November 18, 2014, I was required to provide a full
          detailed report of my disability to H. Goldhagen with the Federal Occupational Health. On or about December 15, 2014, I
          provided Goldhagen a medical report finding me fit for duty. On or about January 30, 2015, Goldhagen insisted that I
          needed to provide a full detailed medical report. On or about March 2, 2015, I was given an April 24, 2015 deadline by
          Melvin Roberts, District Supervisor for Inter-Con, to comply with Goldhagen's request. On or about April 6, 2015, I made a
          request to Roberts for an extension of my deadline until June 29, 2015, but the extension was denied. On or about April 27,
          2015, Goldhagen found me unfit for duty and I was terminated by Roberts.

      II.      No reason was given by Goldhagen on requesting new medical information that had not been requested in prior years. No
               reason was given for denying my request for an extension to the deadline to provide the requested medical information.
               The reason given by Roberts for my termination was noncompliance.

     Ill.      I believe that I have been discriminated against based on my disability and record or disability in violation or the Americans
               with Disabilities Act of 1990, as amended.

I want this charge flied with both the EEOC and the State or local Agency, If any. I       NOTARY -      When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them In the processing of my charge In accordance with their
procedures.                                                                                                               -- --
                                                                                           I 5wear or affim that I have ._:: • - ' • • -    •_e and that it is true to
I declare under penalty of perjury that the above is true and correct.                     the best of my I iowleclge, information and belief.
                                                                                           SIGNATURE OF OMPLAINANT




                                  (~~
                                                                                           SUBSCRIBED Al 0 SWORN TO BEFORE ME THIS DATE
     Dec 16, 2015                                                                          (month, day. yeai

             Dale                                                                                                         EEOC/SDLO
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.537 Page 98 of 106




                              EXHIBIT 24
 Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.538 Page 99 of 106




                                 January 22, 2016

                                 VIA Digital Cha rge Filing Svstem

                                 U.S. Equal Employment Opportunity Commiss
1N·r1tR-CON                                                               ion
~IT' RlTY ~)~T!: \IS, 1,t:       San Diego Local Office
                                 555 W. Bee ch Street
                                 Suite 504
                                 San Diego, CA 921 OI


                                SUBJECT:            Sugimoto/Inter-Con Security Systems Inc.
                                                    EEOC Charge No. 488-2016--00082

                                :Mr. Douglass:

                                       Inte r-Co n Security Syst ems , Inc. ("Inter-C
                                                                                      on) subm its the following Statement
                               of Posi tion in resp onse to the Cha rge of
                                                                             Disc rimi natio n (the "Charge") filed by
                               Gene Sugimoto ("Complaina                                                               Mr.
                                                           nt") with the U.S. Equal Employment
                               Commission ("EEOC''). 1 Complainant alleges                            Opp ortu nity
                                                                           that he was discriminated against based
                               on disability. As set forth         fully here i~ thes e allegations are with out meri
                                                                                                                      t.
                                      There is no evid ence to indicate that Com
                                                                                   plai nant was disc rimi nate d against
                              due to a disability. Inter-Con takes a toug
                                                                          h stance agai nst all forms of discriminatio
                              As explained in detail below, Complainant                                                n.
                                                                              was removed from the schedule at the
                              request of the U.S. Marshals Service ('"lJ
                                                                           SMS") after his contract required annu
                              medical exam revealed information affec                                                  al
                                                                           ting his ability to perform the essential



                               1
                                 The infonnation and supporting documentation
                                                                                      contained herein, and that which may be subm
                               hereafter, is strictly confidential arul not to be                                                         itted
                                                                                   used for any purpose other than the resolution
                               current Charge or disseminated to any perso                                                            oftbe
                                                                                n, including Complainant, without prior writt
                              from Inter-Con. See4 2 U.S.C. §§ 2000e-5(b                                                          en approval
                                                                                 ); 2000e-8(e); 29 C.F.R. §§ 160LI I, 1601.26;
                              Reg. 10847. This Statement of Position is based                                                        56 Fed.
                                                                                      upon our understanding of the facts and the
                              information reviewed thus far. Although there
                                                                                    has not been an opporrunity for formal disco
                              complete formal investigation, this response                                                           very or a
                                                                                is submitted for the purpose of aiding the Depa
                              investigation and facilitating the informal resol                                                      rtment in its
                                                                                   ution of these matters. This response, while
                              be accurate, does not constitute an affidavit or                                                       believed to
                                                                                   a binding statement oflnter-Con's legal position,
                              intended to be used as evidence of any kind                                                                 nor is it
                                                                               in any administrative or court proceeding in
                             with the Charging Pany 's allegations. Beca                                                         connection
                                                                               use additional facts likely would be uncovered
                             discovery or following a full investigation, Inter-                                                   through
                                                                                     Con in no way waives its right to present new
                             additional information at a later date, for subst                                                          or
                                                                                  ance or clarification. Mor<.-over, by responding
                             Charge, Jnter-Con docs not waive, and hereb                                                               to the
                                                                               y preserves, any and all substantive and proce
                             defenses that may exist to the Char ge and the                                                       dural
                                                                                 Char ging Party 's alleg ation s. Inter -Con
                             efforts to cont.act its current managers be direc                                                reque sts that ,my
                                                                                 ted through its counsel.




                                                                                                                                  IC 00601
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.539 Page 100 of 106


          EEOC Charge No. 488-2016-00082
          January 22, 2016
          Page2


         functions of his job as an armed Court Security
                                                          Officer ("CSO"). Complainant was eventuall
         disqualified from performance because he faile                                                 y
                                                           d to submit requested medical information
         required by the contract. Inter-Con at all time                                               as
                                                        s acted in accordance with the direction given
         USMS and did not act in a discriminatory man                                                  by
                                                         ner. Complainant's Charge simply has no meri
         and should be dismissed.                                                                       t

         I.      RESPONSE TO ALLEGATIONS

                Inter-Con responds to each allegation listed in the
                                                                    Charge as follows:
        Allegation I: I was hire d on or abou t Novembe
                                                            r 2, 2013 as a Courts Security Officer when
        Inter-Con Security Systems, Inc. took over
                                                       the US Marshal's [sic] contract from Akal
        previous employer. On or about November                                                       , my
                                                      18, 2014, I was requ ired to provide a fall deta
        report of my disability to H. Goldhagen with                                                    iled
                                                        the Federal Occupational Health. On or abou
        December 15, 2014, I prov ided Goldhagen a                                                         t
                                                     medical report finding me fit for duty. On or
        January 30, 2015, Goldhagen insisted that I need                                             about
                                                            ed to prov ide a full deta iled medical report.
        On or ahout March 2, 2015 I was give n an
                                                    Apri l 25, 2015 deadline by Melvin Roberts,
        Supervisor for Inter-Con, 10 com ply with Gold                                             District
                                                         hagen's request. On or about Apri l 6., 2015
                                                                                                    , I
        made a request to Roberts for an extension
                                                   of my deadline to June 29, 2015, but the exten
        was denied.    On or abou t Apri l 27, 2015, Goldhagen                                    sion
        terminated by Roberts.                                  foun d me unfi t for duty and I was

        Response:

               Inter-Con is a provider of physical security serv
       entities across the country and around the worl                ices to a variety of public and private
                                                           d. Inter-Con's clients rely on the Company to
       provide security and protection to their facilities,
                                                             invitees and employees. One such client is the
       USMS. Complainant is a CSO performing secu
                                                          rity services in federal court facilities pursuant
       a contract between Inter-con and the USM                                                              to
                                                         S. Inter..Con is informed and believes that
       Complainant has worked as a CSO with
                                                         predecessor contractors since 2007; however
       Complainant was hired by Inter-Con on Novemb                                                           ,
                                                              er l , 2013 when Inter-Con became a service
       provider to USMS in the second judicial circuit.

              28 U.S. Code § 566 provides as follows:

              It is the primary role and mission of the United
                                                                States Marshals Service to provide for the
              security and to obey, execute, and enforce all orde
                                                                   rs of the United States District Courts,
              the United States Courts of Appeals, the Cou
                                                               rt of International Trade, and the United
              States Tax Court, as provided by law.

              The USMS Judicial Security Division is responsi
                                                                 ble for protecting federal courthouses
      across the country. One of USMS's missions is
                                                        to provide a safe environment in which federal
      courts can conduct their business with
                                              out fear of violence, crim e or diso rder. CSO
      crucial and highly visible role in support this USM                                      s have a
                                                           S mission. They are usually the first contact




                                                                                                IC 00602
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.540 Page 101 of 106


         EEOC Charge No. 488-2016-00082
         January 22, 2016
         Page3

         visitors have with the federal courts and they are usual
                                                                 ly the :first line of defense in a federal
         court facility. Visitors and federal employees perceive
                                                                 the CSOs to be an integral part of the
         USMS mission.

               At the time officers were selected for hire for assignmen
                                                                          t on the USMS contract, they
        were each provided with orientation packages including,
                                                                  among other things, applicable USMS
        and Inter-Con policies. Complainant acknowledged
                                                                    the Inter-Con Equal Employment
        Opportunity Policy ("EEO Policy") at his time of hire.
                                                                   See, Exhibits at Sugimoto000OOl-2.
        The Conditions of Court Security Officer Eligibility
                                                              , USMS form CSO 004, is a document
        acknowledged annually by CSOs describing the annua
                                                                l qualification requirements, including
        medical requirements, under the contract. See, Su.gimoto
                                                                 000003.
        The Conditions of Court Security Officer Eligibility, state
                                                                      in part
               I acknowledge and understand that my eligibility to perfo
                                                                            rm services under the contract
               will be determined by the USMS based upon meeting
                                                                           all CSO contract qualifications
               standards. These qualifications include successful comp
                                                                           letion of an initial and yearly
               medical exam inatio n; weap on qualification test;
                                                                    a background investigation; and, other
               CSO quali ficati on standards noted in the contract.

               I acknowledge and understand my suitability and eligibility
                                                                             to perform as a CSO will be
               an annual requirement, or deemed as necessary by the
                                                                        Government. I acknowledge and
               agree that if I fail, at any time, to meet any of the CSO quali
                                                                              fication standards, I will be
               prohibited from performing services under the USMS contr
                                                                           act. Sugimoto000003.
               It is the policy of the USMS to ensure a law enforceme
                                                                         nt work force that is medically
       able to safely perform the required job functions. Oper
                                                                ational employees are required to meet
       medical standards and physical requirements and are classi
                                                                   fied as either qualified or unqualified
       based on review of periodic medical examination resu1
                                                             ts. A list of essential job functions for the
       CSO position is attached at Exhibits at Sugimoto
                                                         000021.
              Under the USMS contract, Inter-Con cannot allow a
                                                                       CSO to perform contract duties
      unless he/she is deemed medically qualified by the
                                                             USMS. This is a yearly clearance. A
      clearance from a personal physician to return to work
                                                                is not a contract medical qualification.
      While the reports and clearances of private physicians
                                                              are reviewed by the USMS to ensure the
      CSOs meet the contract medical requirements, it is
                                                              the Government who makes the actual
      determination on medical qualifications. See, Sugimoto00
                                                                  0009-20 for the physical and medical
      standards and medical examination process of the USM
                                                                S contract. 'The Contractor shall not
      allow any individual to perform under this contract until
                                                                the individual's qualification status has
      been determined by the Federal Occupational Health
                                                             (FOH) and a written approval has been
      granted by the Chief, OCS. Exhibits at Sugimoto000009
                                                                 (emphasis original).
             In June 2014, Complainant unde      rwent his annual medical examination. The Judicial
      Secur ity Divis ion Revie wing Medi cal Offic er, H.
                                                           Gold hagen , MD, MPH , defer red Comp laina nts
      medical detenninat  ion pending further documentation from his perso
                                                                          nal physician.              On



                                                                                             IC 00603
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.541 Page 102 of 106


         EEOC Charge No. 488-2016-00082
         January 22, 2016
         Page4

         November 18, 2014, FOH issued a Medical Review Form ("MR
                                                                          F") detailing the additional
         information required to determine whether Complainant could perfor
                                                                           m the essential functions of
         the CSO position. Inter-Con received the MRF on December
                                                                        1, 2014 and it was issued to
         Compla1.nant who acknowledge receipt thereof on December 2,
                                                                          2014. Sugimoto000004-5.
         CSOs are routinely given a 60 days to comply with an MRF. See,
                                                                         Sugimoto000012-l3 (C9.3.6
         and C9.3.7).

                Inter-Con admits that Complainant submitted medical documentatio
                                                                                      n in response to the
        November 18, 2014 MRF on or about December 15, 2014. Howe
                                                                         ver, on January 30, 2015, FOH
        issued a second MRF indicating that Complainant did not submi
                                                                         t all medical documentation as
        requested in the November 18, 2014 MRF. Inter-Con receive-el the
                                                                           second MRF on February 23,
        2015 and it was served on Complainant who acknowledged receip
                                                                            t thereof on March 2, 2015.
        Sugimoto000006-7. In accordance with contract requirements, Comp
                                                                               lainant was given a 60 day
        deadline to return the requested medical documentation. Althou
                                                                                 gh USMS could have
        disqualified Complainant for his failure to provide complete medic
                                                                           al information in accordance
        with section C.9.3.6 of the USMS contract after the first MRF (Sugim
                                                                              oto000013), USMS instead
        gave Complainant additional time to comply by issuing the second
                                                                           MRF with a renewed 60 day
        deadline.

              On or about ApriJ 2, 2015, Complainant submitted a request for
                                                                                     extension of time to
       comply with the January 30, 2015 MRF which Inter-Con submi
                                                                           tted to USMS. For reasons
       unkno\\TI to Inter.Con, USMS denied Complainant's request for
                                                                        extension. Although USMS did
       not provide a reason for denying the extension request, it is likely
                                                                             that the request was denied
       because Complainant had already been given a 60 day extension
                                                                             of time to respond when a
       second MRF was issued rather than a disqualification for Comp
                                                                             lainant's failure to provide
       complete medical documentation in response to the November 18,
                                                                         2014 MRF.
               Complainant did not submit the additional medical documentatio
                                                                                     n requested in the
        January 30, 2015 MRF by the stated deadline. On April 27, 2015,
                                                                            Inter-Con received an email
        from USMS disqualifying Complainant from performance on the
                                                                          USMS contract for his failure
       to provide requested medical infonnation such that his annual medic
                                                                              al clearance could not be
       issued. Complainant alleges that he provided information from his
                                                                          doctors indicating that he was
       medically cleared to perform his duties; however, the Government
                                                                           disagreed and indicated that
       Complainant failed to provide all supplemental medical inform
                                                                         ation requested in November
       2014 and again in January 2015. Complainant was accommodat
                                                                        ed and given over 120 days to
       comply while the contract only requires that a CSO be allowed 60
                                                                        days for compliance.
       Allegation II: No reason was given by Goldhagen on requesting
                                                                         new medical information that
       had not been requested in prior years. No reason was given
                                                                          for denying my request for
       extension to the deadline to provide the requested medical inform
                                                                          ation. The reason given by
       Roberts for my termination was noncompliance.

       Resnonse: Complainant was prohibited from working as a CSO on the USMS contract becaus
       he failed to submit medical documentation such that                                   e
                                                               the Government could make a
       determination regarding whether he met the medical requirements under
                                                                             the contract. The two



                                                                                           IC 00604
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.542 Page 103 of 106


         EEOC Charge No. 488-2016-00082
         January 22, 2016
         Page 5

        MRFs issued to Complainant specifically detailed the nature of the medical
                                                                                           documentation
        required as well as the reason for the request Complainant was well aware of the
                                                                                             requirements
        for his annual medical clearance as he acknowledged them in the CSO 004 fonn
                                                                                           he reviewed in
        June 2014 prior to his annual contract required physical. See, Exhibits at Sugimo
                                                                                              to000003 (I
        acknowledge and agree that if I fail, at any time, to meet any of the CSO qualification
                                                                                                standards,
        I will be prohibited from performing services under the USMS contract). However,
                                                                                             Complainant
        did not comply with contract requirements regarding submission of request
                                                                                              ed medical
        documentation.

        Allegation III: l believe I have been discriminated against based on my disability
                                                                                           and record of
        disability in violation of the American with Disabilities Act of1990, as amended.

        Response: For the reasons stated above, Inter-Con denies Complainant was
                                                                                 discriminated
        against on the basis of disability or a record of disability.

        II.    LEGAL ANALYSIS

               A.      Complainant Was the Cause oftbe Breakdown of the Interactive Process

               USMS and not lnter-Con that controlled the medical review process and requeste
                                                                                             d
       medical documentation from Complainant under its statutory authority to
                                                                               carry out the USMS
       mission. The EEOC has stated in its Enforcement Guidance on Reasonable Accomm
                                                                                        odation and
        Undue Hardship Under the ADA that when an employer (or in the case USMS)
                                                                                              has sought
       documentation of a disability that is not obvious and the employee refuses to submit
                                                                                              reasonable
        documentation "then s/he is not entitled to reasonable accommodation." See
                                                                                             Hendricks-
       Robinson v. Excel Corp., 154 F.3d 685, 700, 8 AD Cas. (BNA) 875, 887 (7th Cir.
                                                                                           1998). Here,
       the Government requested medical documentation from Complainant to determi
                                                                                         ne whether he
       could perfonn the essential functions of the CSO position and. Complainant failed
                                                                                         to provide that
       information despite being given over four months to do so. Additionally, USMS
                                                                                         was entitled to
       make medical inquiries regarding whether Complainant could perform the essentia
                                                                                          l functions of
       the CSO position.

               Complainant caused the breakdown in the interactive process. To dialogue in good
                                                                                                      faith
       includes the duty to provide requested, relevant information. See, Sears, Roebuc
                                                                                            k & Co., 417
       F.3d at 806 (employer not liable for failure to engage in interactive process if employ
                                                                                                ee refuses
       to participate or withholds essential information); Templeton v. Neodata Services,
                                                                                            Inc., 162 F.3d
       617, 619 (10th Cir. 1998) (employee's failure to provide medical information
                                                                                           "precludes her
       from claiming that the employer violated the ADA by failing to provide
                                                                                               reasonable
       accommodation."); Tatum v. Hosp. Of the Univ. of Pa., 57 F. Supp. 2d 145, 150 (E.D.
                                                                                                 Pa. 1999)
       (where employer gave plaintiff numerous opportunities to produce required informa
                                                                                               tion, court
       asks: "what more should the Hospital have done? .. .'[o]ne cannot negotiate with a brick
                                                                                                wall."').
               Having hit that brick wall, the Government disqualified Complainant from perform
                                                                                                   ance
       under the contract. Despite the fact that the contract only requires that CSOs be provide
                                                                                                d with a




                                                                                             IC 00605
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.543 Page 104 of 106


       EEOC Charge No. 488-2016-00082
       January 22, 2016
       Page6

       60 day compliance period to provide supplemental medical infonnation, Complainant was
       accommodated and given over four months to produce the information and he failed to comply.


               B.      Inter-Con Had A Legitimate Business Purpose To Remove Complainant
                       From The Schedule

               There are no facts to support Complainant's theory that he was discriminated against as a
       result of a disability. Further, there are no facts to suggest that lnter-Con went against its zero
       tolerance policy for discrimination and subjected Complainant to deliberate discrimination.
       Inter-Con has presented evidence to show that (1) Complainant was aware of the physical and
       medical examination requirements for CSOs assigned to the USMS contract; (2) Complainant
       failed to comply with those requirements although given over four months to do so; and (3)
       Inter-Con followed the direction of USMS in removing Complainant from performance under
       the contract. Complainant cannot present any evidence to infer that Inter-Con's true reason for
       not allo\\ing him to perform as a CSO was for a discriminatory purpose.

       m.      CONCLUSION

               In sum, the allegations in Complainant's Charge are baseless. There is no evidence to
       support his claims of discrimination. For these reasons, Complainant's Charge should be
       dismissed upon a finding of no probable cause. Please contact me at (626) 535-2239 or
       ngriffiths@icsecurity.com if you have any questions about Inter-Con's response or th.e
       documents provided.

       Best Regards,

       Inter-/2~~.
               urity Systems, Inc.

       Natalie . fiths
               I
       Counsel  1




       Enclosures




                                                                                             IC 00606
Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.544 Page 105 of 106




                               EXHIBIT 25
      Case 3:19-cv-00025-DMS-BLM Document 32-3 Filed 11/01/19 PageID.545 Page 106 of 106




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          Unlted States. Mar;!hab Service.

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